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                                  EXHIBIT “B”
                      PROPOSED FIRST AMENDED COMPLAINT




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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              LUBBOCK DIVISION

 IN RE:

 Reagor-Dykes Motors, LP, et al.               Case No. 18-50214-rlj-11
                                               Jointly Administered
       Debtors.

 Reagor-Dykes Imports, LP,
 Reagor-Dykes Auto Company, LP and
 Reagor Dykes Plainview, LP,

       Plaintiffs and Counter-Defendants

       vs.

 Vista Bank,

       Counter/Cross Plaintiff

       vs.                                     Adversary No. 18-050005-rlj

 Reagor Dykes Motors, LP,
 Reagor Dykes Amarillo, LP,
 Reagor Dykes Floydada, LP,
 Reagor Dykes Snyder, L.P.
 Reagor Dykes III LLC,
 Reagor Dykes II LLC
 Reagor Dykes Auto Mall, Ltd., and
 Reagor Dykes Auto Mall I LLC,

       Cross-Defendants and Cross Claimants


             PLAINTIFF/COUNTER-DEFENDANTS and CROSS-DEFENDANTS’
                          FIRST AMENDED COMPLAINT

       In accordance with Rule 7001, et seq. of the Federal Rules of Bankruptcy Procedure,

Plaintiffs Reagor-Dykes Imports, LP (“Lmitsu”); Reagor Dykes Auto Company, LP (“RDAC”);

and Reagor-Dykes Plainview, LP (“RDT”) (collectively “Plaintiffs”) and Cross Claimants Reagor

Dykes Motors, LP; Reagor Dykes Amarillo, LP; Reagor Dykes Floydada, LP; Reagor Dykes
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Snyder, LP and Reagor Auto Mall, Ltd.; (collectively, “Cross Claimants”), as debtors and debtors-

in-possession in the above-styled and captioned cases (the “Bankruptcy Cases”), file this complaint

(the “Complaint”) to turnover property of the estate, avoid certain obligations and recover certain

transfers against Vista Bank (the “Defendant”), to disallow any claims held by Defendant and

recover compensatory damages for Defendant’s willful violations of the automatic stay. In support

of this Complaint, Plaintiffs allege, upon information and belief and subject to proof, the following.

                                            I.
                                    NATURE OF THE CASE

       1.      Debtors file this Amended Complaint against Vista Bank, seeking to recover

multiple millions of fraudulent transfers and other transfers avoidable under the United States

bankruptcy code. Specifically Debtors pursue recovery against Vista Bank in order to recover

monies that may be thereafter by available for distribution for the benefit of the legitimate creditors

of the bankruptcy estates.

       2.      Vista Bank, a creditor in this bankruptcy, has sought to portray itself as a victim of

the fraudulent business practices of Debtors’ former Chief Financial Officer Shane Smith. But

Vista Bank is anything but a victim here, as it benefited from and actively facilitated the fraud that

ultimately resulted in Debtors’ bankruptcy and the substantial damages suffered by countless

creditors.

       3.      Vista Bank’s involvement in this fraud is confirmed by email correspondence

between Vista Bank executives and Debtors’ former CFO Smith. But even in the absence of any

such correspondence, the tens of thousands of banking transactions that Vista Bank processed for

Debtors required significant coordination between Vista Bank executives and CFO Smith and

provided Vista Bank ample evidence of the colossal, ongoing check kiting fraud. Two simple,

objective facts—all known to Vista Bank executives—confirm the point:

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            •   In the 12 months prior to filing for bankruptcy (August 2017-July 2018), Debtors
                made deposits exceeding $1.4 billion into their Vista Bank accounts, but

            •   Vista Bank was in receipt of Debtors’ financial reports, including its 2017 year-end
                financial reports disclosing only $250 million in gross sales for 2017.

Deposits reflecting an increase of almost 600% over Debtors’ prior year’s gross sales could not go

unnoticed at Vista Bank, particularly as these deposits were almost double the entire asset size of

Vista Bank.

       4.       But it was not the volume or amount of Debtors’ deposits (most of which reflected

inter-company transactions) that required Vista Bank’s complicity. Rather, it was Vista Bank’s

active participation in maintaining Debtors’ perpetually overdrawn bank accounts that gives rise

to Debtors’ claims here. By way of example and during this one-year period leading up to

bankruptcy, when Debtors were depositing $1.4 billion into Vista Bank, Debtors’ same three Vista

Bank accounts were overdrawn a combined 368 days. And yet Vista continued honoring checks

and debits against overdrawn accounts and in so doing made the debtors a series of “off the books”

loans. In the two years which preceded the bankruptcy Vista Bank extended millions of dollars in

such short-term loans by allowing the Debtors to treat their three checking accounts as revolving

lines of credit and thereby allowing CFO Smith’s check kiting scheme to continue.

       5.       Although the reasons that Vista Bank aided and abetted CFO Smith’s fraud are

unimportant, as Debtors explain below, the two worked together, each benefiting from the other’s

misconduct. Vista Bank President, John D. Steinmetz, personally enriched himself through kick-

backs (in the form of roughly $150,000.00 in subsidized luxury car leases for his personal use,

funded by Debtors), while at the same time he and Vista Bank at large benefited through the

massive bank fees it collected and the prestige of having a “top shelf” customer while pursuing a

growth-at-any-cost strategy. These benefits to Vista Bank and its owners and executives proved

ample consideration for merely enabling CFO Smith’s continued fraud.
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       6.      Vista Bank’s participation in this fraud gives rise to the Debtors’ following claims:

                 (a). As the result of its knowledge of and participation in Shane Smith’s

fraudulent schemes, Plaintiffs and Cross Claimants seek to equitably subordinate and disallow the

entirety of Vista Bank’s liens, claims, causes of action, including any rights to receive a

distributions and/or other alleged rights it may have against the estate. Moreover, and pursuant to

11 U.S.C. § 502(d) and (j), this includes Vista’s claimed lien against a $2,000,000.00 Certificate

of Deposit made the basis of that certain agreed order found at Docket 271of the main case and

pursuant to Sections 7 and 9 thereof.

                 (b). Plaintiffs seek to avoid and recover from Defendant certain transfers made

in violation of sections 549, 550 and 551 of the Bankruptcy Code, including any and all transfers

that were made after Plaintiffs commenced the Bankruptcy Cases and which transfers were not

authorized by the Bankruptcy Code or this Court.

                  (c). Plaintiffs seek to avoid and recover from Defendant certain pre-petition

transfers as preferences and pursuant to Section 547, 550, and 551 of the bankruptcy code.

                  (d). Cross Claimants seek to avoid and recover certain transfers made in

violation of sections 549, 550 and 551 of the Bankruptcy Code. This includes payments made by

Cross Claimants in satisfaction of the short-term off-the-books loans extended by Vista Bank to

Lmitsu, RDAC and RDT and through true overdrafts to their respective accounts.

                                           II.
                                JURISDICTION AND VENUE

       7.      Pursuant to 28 U.S.C. §§ 157 and 1334(b), this Court has subject matter jurisdiction

over this adversary proceeding, which arises under title 11, arises in and relates to those certain

cases under title 11 currently pending in the United States Bankruptcy Court for the Northern



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District of Texas, Lubbock Division (the "Court"), captioned In re Reagor-Dykes Motors, LP, et

al., Jointly Administered under Case No. 18-50214-11 (RLJ).

       8.      The legal predicates for the relief requested in this adversary proceeding are §§ 105,

362, 363, 502, 541, 547, 549, 550 and 551 of title 11 of the United States Code, 11 U.S.C. §§ 101,

et seq. (the “Bankruptcy Code”), Rules 3007, 7001(1), and 7003 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and the Local Bankruptcy Rules for the United

States Bankruptcy Court for the Northern District of Texas (the “Local Rules”).

       9.      This adversary proceeding is a "core" proceeding to be heard and determined by

the Court pursuant to 28 U.S.C. § 157(b)(2) and the Court may enter final orders for matters

contained herein.

       10.     Venue is proper in the Northern District of Texas pursuant to 28 U.S.C. § 1409.

                                               III.
                                             PARTIES

       11.     Each Plaintiff together with the Cross Claimants are limited partnership formed

under the laws of the State of Texas. Each Plaintiff operates at a principal place of business located

within the State of Texas. Each Plaintiff is authorized to transact business within the State of Texas.

Each Plaintiff currently operates and manages its business as a “debtor-in-possession” pursuant to

§§ 1107 and 1108 of the Bankruptcy Code. Plaintiffs are the exclusive entities authorized with

standing and capacity, among other things, to prosecute, settle, dismiss, abandon, or otherwise

dispose of the assets of the bankruptcy Estates (as defined below) in these Bankruptcy Cases,

including, without limitation, the claims and causes of action asserted in this adversary proceeding.

       12.     Defendant Vista Bank is a depository banking and lending institution domiciled in

the State of Texas. Vista Bank has been served, appeared, and is before this Court for all purposes.

By the nature of Plaintiffs’ claims against Defendant, the Court has personal jurisdiction over

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Defendant in this adversary proceeding. Defendant is named as a party in this action in the proper

capacity as a member of the Federal Reserve System registered with the Federal Deposit Insurance

Corporation as an insured financial depository institution.

                                          IV.
                                 FACTUAL BACKGROUND

       13.     The demise of the Reagor Dykes dealerships was both as spectacular as it was

catastrophic. We have long known that the downfall of this once stalwart business was caused, in

part, through the financial machinations of its Chief Financial Officer, Shane Andrew Smith. But

a troublesome question remains. How was Smith able to orchestrate a scheme of such magnitude

that left a path of financial ruin for so many in its wake? The answer is that Smith had help from

outside the dealerships.

       14.     The rise of Vista Bank President, John D. Steinmetz, from his days as a junior

banker with Plains Capital Bank, to Lubbock County Republican Party Chair, then as President

of Vista Bank and ultimately to successive appointments as a member of the Board of Regents of

the Texas Tech University System has been well chronicled. For a man forty-one years that is

quite a resume. Indeed it is quite a resume for someone of any age. As was the case with Shane

Smith, on the surface, Steinmetz bares all the trappings of an American success story-- right down

to the shiny luxury car. But like Shane Smith, all was not as it seemed to be.

       15.     During the tenure of Vista Bank’s banking relationship with the Reagor Dykes

debtors, the bank’s growth was every bit as meteoric as John Steinmetz’s career. According to its

public filings, from the third quarter of 2016 Vista Bank boasted assets of $398,904,000.00. By

the third quarter of 2018, and at the time of the filing of the bankruptcy case, Vista reported an

asset size of some $777,449,000. Vista had nearly doubled in size over the course of just two

years and had only a single small acquisition to explain this rapid growth. So just how was John

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Steinmetz able to shepherd his bank to such heights in so short a time? The answer is that- at least

in the case of Shane Smith and his financial schemes- Vista Bank was willing to do things that

other banks would not. At all relevant times, Vista Bank and Steinmetz knew what Shane Smith

was doing. Moreover, and as explained below, they took affirmative acts to assist and help Smith

in the scheme.

       16.       A. Shane Smith’s “Side Deal” With Steinmetz: Vista’s relationship with Smith

must be viewed through the prism of Smith’s relationship with Vista Bank President and CEO

John Steinmetz. To this end, Vista’s participation in Smith’s schemes cannot be ascribed solely

to blind ambition; the pursuit of a growth-at-any-costs strategy, and; the massive banking fees that

it received from certain debtors each month. Although these factors certainly play-in, a crucial

element is omitted. Beginning in December 2014 and continuing through the filing of the

bankruptcies in July 2018, Smith facilitated an arrangement by which Steinmetz (either directly or

under the name of Vista Bank) would receive a series of luxury auto leases for use as his personal

vehicles. While Steinmetz (and sometimes Steinmetz on behalf of Vista) would execute the auto

lease and agreed to pay the full amount of the monthly payments, Smith and Steinmetz reach a

“Side-Deal” whereby the Reagor Dykes dealerships would pay a majority of the lease payments

directly to the leasing company.

       17.       Through this arrangement, Steinmetz, for himself and his family, was able to lease

the following vehicles for just 36% of the amount he was otherwise obligated to pay: (i) 2015

Cadillac Escalade; (ii) 2015 Chevrolet Tahoe LTZ; (iii) 2016 BMW 750i Xdrive; (iv) 2016 Infinity

XQ80, and; (v) a 2016 Toyota Land Cruiser. In that regard, and from December 15, 2014, through

the filing of the bankruptcy petition, the Debtors made some $146,410.02 in direct lease payments

to a leasing company and for the benefit of John Steinmetz and against a liability of $228,150.00


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that Steinmetz would have otherwise been obligated to pay. In other words, the Debtors paid some

64% of the monies John Steinmetz and Vista owed to the leasing company and for the use of

luxury vehicles.

       18.     A summary of each lease and the number of payments made directly by the Debtors

for the benefit of Steinmetz is attached hereto as Exhibit “A-1”. In particular it should be noted

that Steinmetz obtained additional leases over the summer of 2017. The timing of the 2017 leases

were especially suspect, as they occurred in close proximity to the time that Debtors Reagor Dykes

Imports, L.P. (“Lmitsu”), Reagor Dykes Plainview, LP (“RDT”) and Reagor Dykes Auto

Company, LP (“RDAC”) received a $3 million dollar unsecured loan from Vista Bank and at a

time that its checking accounts were regularly overdrawn by hundreds of thousands of dollars.

Suffice it to say, the Leases for the 2016 BMW 750i Xdrive and 2016 Toyota Land Cruiser were

executed just one month before the $3 million-dollar unsecured loan was approved. The Infinity

QX80 was leased by Steinmetz one month after the $3 million-dollar unsecured loan was

approved.

       19.     Under Shane Smith’s Side-Deal, Steinmetz knew he was not receiving merely a

“generous discount” toward his lease payments. Indeed, he knew that the Debtors- a customer and

borrower of Vista Bank- would be making direct cash payments toward his personal lease

obligations, together with those of Vista Bank. The direct cash payments by the Debtors were

documented in an instrument signed by both Shane Smith and John Steinmetz and entitled

“Substitution of Lease Payments” and which expressly state who would be paying what.

Examples of such instruments that were signed by Steinmetz both in his individual capacity and

his capacity as president of Vista Bank are attached herewith as Exhibit “A-2”.




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          20.   Over the years, the vehicles increased in quality. In the months which preceded the

bankruptcy, Smith and Steinmetz were in active discussions regarding obtaining an Aston Martin

(of James Bond fame) for Mr. Steinmetz’s use. The bankruptcy prevented the consummation of

this transaction, but presumably it would have been under similar terms as the five other auto

leases.

          21.   What is not stated in the lease or any other document, however, is what precisely

Steinmetz provided to Shane Smith in return for the $146,410.02, in luxury car lease payments

that Steinmetz and Vista received from the Debtors. And this is precisely why the transactions

between Smith and Steinmetz are so important-- they provide a lens through which view Vista’s

subsequent conduct. And Vista’s conduct, when viewed from an objective perspective, simply

cannot be explained except by the conclusion that it was a participant in Smith’s schemes.

          22.   B. Vista Is No Victim Under Any Objective Standard. Vista, for its part, claims

to be a victim of a check kiting scheme in this bankruptcy. A kite- by definition- is the

manipulation of the check clearing system in order to obtain a non-consensual loan from a bank or

other financial institution. But what happens when the manipulation is known to the bank and its

officers, and the “loan” obtained by the kite is effectively consensual? These are not mere esoteric

questions but instead, appears precisely what happened in the case of Vista Bank and its customers

Lmitsu, RDT, and RDAC.

          23.   Lmitsu, RDT, and RDAC had two conventional promissory note-based loans from

Vista. In conjunction with the making of these loans in 2017 and their renewal in Summer of

2018, Vista received financial statements of the dealership which contained, among other things,

information regarding the dealerships inventory value and gross revenue.           Vista knew the

economic capacity and the historic sales of each of these dealerships. Moreover Lmitsu, RDT and


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RDAC each maintained demand deposit accounts with Vista which were essentially business

checking accounts. Vista’s computer system also was responsible for generating Lmitsu, RDT

and RDAC’s monthly bank statements.           Beyond this, Shane Smith was in near constant

communication with Lubbock Vista Market President, Toby Cecil, regarding the status of these

three checking accounts and particularly when they were overdrawn (which was a frequent

occurrence). A summary of one years’ worth of account activity compared with the historic

economic performance of the dealerships are contained in tables attached hereto as Exhibit “B”.

       24.     Dealerships Deposited A Staggering & Inexplicable Amount of Money Into Three

Vista Checking Accounts: Lmitsu, RDT and RDAC operated the Lubbock Mitsubishi dealership,

and the Plainview Toyota and Ford dealerships respectively. In the twelve (12) month period

preceding the August 2018 petition date, the dealerships deposited over $1.4 billion dollars into

just three business checking accounts at Vista Bank. By comparison with past annual gross sales,

this amount is approximately 5.8 times larger than the three dealerships gross sales for 2016 and

5.6 times larger than the gross sales for 2017. In point of fact, the deposits for virtually every

month during this period grossly exceed past average monthly sales, often by several orders of

magnitude. Further, even a cursory review of Vista’s own bank statements would reveal that the

majority of the deposits took the form of intercompany transfers, that is to say transfers from other

Reagor Dykes Dealerships.

       25.     Aggregate Size of Deposits Were Significantly Larger Than Vista Bank Itself:

These were not small transactions for Vista Bank that might have otherwise escaped scrutiny. In

fact, taken together, these deposits exceeded 180% of the entire asset size of Vista Bank in the

third quarter of 2018. The aggregate deposits in the six-month period preceding the bankruptcy

were over 135% of the size of Vista Bank. These deposits were so large and substantial in nature,


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that they would have been discussed by virtually every management level personnel within Vista

Bank—water cooler talk as it were. And as established through emails between Smith and Vista

Market President Toby Cecil, Vista would often keep its doors open after-hours in order to receive

these deposits in a process to be discussed at greater length later in this Complaint and known as

“late drawer memo posting.”

        26.    Despite the Deposits the Accounts Were Habitually Overdrawn: Given the sheer

sums of money deposited into just Vista Bank accounts, one might make the mistake of assuming

that these accounts were flush with cash. To the contrary, and beginning as early as the fall of

2016, the three deposit accounts were regularly overdrawn by millions of dollars. Intraday

overdrafts- that is to say overdrafts that were cured within the day- were ubiquitous and tended to

be the largest in denomination, ranging in the millions of dollars. True Overdrafts- that is an

overdraft which persisted for over twenty-four hours – also occurred at an alarming rate but were

lesser, though still significant in denomination. Overall, and as evidenced by the table attached

Exhibit “B”, the three business checking accounts finished the business day overdrawn a combined

368 days out of a 365-day calendar period in the 12-month period preceding the bankruptcy

petition.

        27.    The Overdrafts Were Effectively Short-Term Loans Repaid With Intercompany

Transfers: It must be noted that under applicable banking regulation, and as a state chartered bank,

Vista Bank was and remains legally obliged to treat True Overdrafts (as distinguished from

Intraday Overdrafts) as an extension of credit, or loans. See TEX. FIN. CODE § 31.002(34). Every

day, Lmitsu, RDT and RDAC would make large intercompany deposits to endeavor to cure these

overdrafts so that a given account would finish the day with a positive balance. In spite of these

deposits, these accounts would at times remain overdrawn for days and even weeks at a time. For


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instance, in the case of Lmitsu, and during a period from May 10, 2018 through May 29, 2018, its

checking account remained overdrawn for a period of fourteen (14) consecutive business days or

nineteen (19) calendar days.

        28.     As a consequence of the regular and persistent overdrafts, Vista Bank permitted

Lmitsu, RDAC and RDT to utilize their checking accounts as sub rosa and off-the-books line of

credits, knowing that that the credit it was extending would be repaid via intercompany transfers.

It is unclear whether Cecil or Steinmetz took this proposition to Vista Bank’s loan committee or

board of directors, as they were required to do under applicable banking law. Nevertheless and on

the basis of the conduct of the parties, it is abundantly clear that this is how Vista Bank and the

dealerships treated the checking account. An analysis of the off-the-books short term loans

extended by Vista to Lmitsu, RDT and RDAC through their respective checking account is as set

forth on Exhibits “C” attached hereto. The data contained therein is compiled from Vista’s own

bank statements.

        29.     Based on the information available to Vista through both the dealership’s financial

statements and bank statements generated by Vistas own computer system, Vista knew (1) the

dealerships were making deposits into its checking account that were far in excess of their revenue

generating capacity; (2) that these deposits were largely from other Reagor Dykes entities; (3) that

notwithstanding these massive deposits, the checking accounts were regularly overdrawn,

sometimes by amounts aggregating in the millions of dollars, and; (4) that notwithstanding all of

these facts, Vista elected to permit the dealerships to treat their business checking accounts as sub

rosa lines of credit.

        30.     C. Vista Was Subjectively Aware of Smith’s Schemes: In September of 2016,

Vista Bank found itself at a precipice. It was frustrated by the large overdrafts to the dealerships


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checking accounts, and was subjectively aware of the risks that it posed to the bank. In that regard,

on September 22, 2016 Toby Cecil wrote an email to Bart Reagor expressing these concerns. The

e-mail is notable for several reasons, the first of which is it appears to be one of only a handful of

communications between anyone at Vista Bank and Reagor and regarding the day-to-day business

of the dealerships. To this end, the banking relationship between Vista and the dealerships was

almost exclusively handled by Smith and one or two others on his staff.

        Cecil’s September 22, 2016 e-mail to Reagor provides in part as follows:

       “Dear Bart,

       We have a situation that we need to address quickly regarding the RD dealership
       accounts. I have attached the account history for the Mitsubishi account as of close
       of business yesterday which reflects a negative balance of $1,018,504.03. I know
       that y'all are in the middle of an audit but this type of activity on your accounts can
       not continue.

       Shane has done a tremendous job of collecting deposits and keeping me abreast of
       all developments (including multiple phone calls and emails daily) but even with
       his efforts the account still has a negative balance of close to $200K and this does
       not include the other overdrawn accounts.

        We truly value this relationship but when a customer has multiple accounts that
       are at the top of the overdrawn list, it is very difficult to continue to extend
       credit to a customer.”

See Exhibit “D” (emphasis added). Approximately an hour later, Reagor responded to this e-mail

and cc’d Vista Bank President John Steinmetz. In responding, Reagor was contrite and apologetic

for the situation, but made some follow up requests from Cecil. To this end Reagor stated in part,

       “I don’t want any red flags ever!!!!!!!! We are doing to good to ever have any red
       flags! Toby please call me personally if there is ever a concern immediately!!!!!!!!
       …………

       I called Toby and he told me he sent the email to make sure I was in the loop. Going
       forward we agreed to make sure that we don’t ever let this situation develop again.”




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See Exhibit “D” (emphasis added). In the nearly two years that followed between this email and

the date of the bankruptcy petition, there is precious little evidence that Cecil, Steinmetz or anyone

else at Vista honored Reagor’s request to be personally notified of “concerns” or overdrafts. By

way of counterpoint, however, Cecil and Shane Smith communicated daily if not weekly regarding

account status’ and in the face of ever-increasing overdrafts.

       31.     Despite Cecil’s ostensibly stern warnings to Reagor, the three DDA accounts

finished the day with negative balances, a combined 15 business days out of the month of October

2016. Moreover, Vista continued to do business with and extend credit to the dealerships in spite

of the fact that there was an ever increasing number of True Overdrafts across the three accounts

in each of the successive months up through the filing of the bankruptcy petition.

       32.     In March 2017 the dealerships underwent a series of particularly large overdrafts,

with the three accounts finishing the day overdrawn a combined 38 business days out of the 31

days calendar month. In an e-mail dated March 17, 2017, and after setting out a plan for making

intercompany deposits to cure overdrafts, Smith commented to Cecil that he had “[l]ots of plates

spinning.” Cecil responded to Smith’s email by noting:

                    “I don’t know how you keep them [the plates] all spinning : )”

(emphasis added). According to Vista’s bank statements, between March 16 and March 17, 2017,

the dealerships had deposited at least $1,413,426.00 in intercompany checks to cure overdrafts and

largely from Debtors Reagor Auto Mall, LP and Reagor Dykes Amarillo, LP. From these

communications together with others like it, it is clear that Vista knew precisely what Shane Smith

was doing.

       33.     Vista Bank’s Computer System Told Vista What Shane Smith Was Doing: Upon

information and belief, Vista Bank employs a high-end data analytics software published by


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Banker’s Toolbox/Abrigo or a similar vendor (the “Analytic Software”). The Analytic Software

is said to be so powerful that it can detect a suspected check kite within the first few checks. Each

day the Analytic Software generates a report of all suspected check kiting based on account activity

on a bank-wide basis. These kite-reports are dispatched first to a specified bank officer and if not

resolved, these reports are taken all the way up the chain of command. Given the sheer volume of

inter-company transactions occurring on daily basis between the Debtors, Vista’s Analytic

Software would have been lit up like a Christmas tree. In this way, Vista Bank did business with

Shane Smith in spite of the phosphorescent red flags that its own computer system waived in its

bankers’ faces on a daily basis.

       34.     Shane Smith Told Vista Bank Officers What He Was Doing. Toby Cecil was the

bank officer in charge of the dealerships’ banking relationship with Vista. In the face of habitual

overdrafts, Shane Smith had regular and extensive email conversations regarding these massive

overdrafts with Toby Cecil and others with Vista. In these emails, Smith would preemptively

inform Cecil of the nature and extent of the overdrafts, and how he planned on moving money-

largely via checks from other Reagor-Dykes entities- to cure the same. These emails are frequent

and are simply too numerous to catalog. Suffice it to say, this correspondence is largely concurrent

with the True Overdrafts which are cataloged in Exhibit “C”.

       35.     D.    Vista Helped Smith With His Schemes: Part 1: The Late Drawer Memo

Post: February 2018 was another period in which the three business checking accounts faced

multiple consecutive days of large overdrafts. Collectively, the three accounts were overdrawn

some 26 banking days out of a 28 day calendar month. On February 6, 2018, the three accounts

finished the day some $3,460,608.45 in the red. Through intercompany deposits, Smith was able




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to significantly reduce these overdrafts. But by the close of business on February 12, 2018 the

three accounts finished the day overdrawn by an aggregate $1,489,664.12.

       36.     Over the course of the day, the dealerships had made at least $2,458,042.00 in

intercompany deposits across the three accounts. These deposits came largely from Debtors

Reagor Auto Mall, LP, Reagor Dykes Amarillo, LP, Reagor Dykes Snyder, LP, Reagor Dykes

Motors LP and non-debtor D&R Acquisitions, LLC. Nevertheless, these deposits were still not

enough to bring the accounts positive. But what to do? Frequently, and beginning at least two

years prior to the bankruptcy proceeding, the answer concocted by Cecil and Shane Smith was the

“late drawer memo post”.

       37.     At 4:39 p.m. on February 12, 2018, Shane Smith forwarded to Toby Cecil’s

attention transaction receipts for deposits that Reagor Dykes employee Ashley Dunn had just made

with Vista Bank and after the official close of Vista’s business day at 4:00 p.m. They reflect some

$1,222,757.00 in intercompany deposits and largely from Debtors Reagor Auto Mall, LP, Reagor

Dykes Amarillo, LP, Reagor Dykes Snyder, LP, and Reagor Dykes Motors LP. These deposits

reflect a “late drawer memo post,” and is within “spitting distance” of the aggregate negative

balances of the three accounts at the close of the business day. While the deposits were actually

made on February 12, 2018, because they were not formally credited to the benefit of Lmitsu,

RDAC and RDT until the following business day as reflected on Vista’s Bank Statements. But

there is a hidden benefit both to Vista and to the dealerships to the after four deposits.

       38.     In the context of deposits, a “late drawer memo post” occurs when a check or other

item is received for deposit after the ordinary business hours of the banking or financial institution.

When the check or other item is received, a teller (or automatic teller) applies a temporary credit

memo to the account of the drawer. The temporary credit memo is later removed, usually by the


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close of the following business day and when the check is batch processed through the check

clearing system. However, and during the pendency of the duration of the temporary credit memo,

the balance of the checking account will appear for the purposes of the banks records as greater

than it actually is. The net effect of these memo posted deposits to the dealership accounts,

meaning these were immediately available funds, but the deposited checks would not clear the

corresponding bank until midnight, the next business day, thereby allowing a mini-kite to occur

for 32 hours. Vista was effectively helping Smith to manipulate the check clearing process and to

the detriment of other creditors of the estate, and the efforts it made to so border on herculean.

       39.     In order for Vista Bank to process a late drawer memo post, Smith was required to

make special arrangements with Toby Cecil or his cohort Jo’Elda Luman. Cecil and Luman would

have tellers waiting after hours for a dealership employee to arrive with large intercompany checks

to be deposited. Cecil and Luman would instruct the tellers precisely how to apply the memo-

posted credits and to which accounts. Towards the end of the scheme there would multiple

millions of dollars deposited via late drawer memo post and on weekly if not daily basis.

       40.     To summarize, Shane Smith would regularly make special arrangements with Toby

Cecil and others for: (i) Vista Bank to stay open after hours; (ii) so that increasingly large deposits

of intercompany checks could be made; (iii) to give special instructions to Vista Bank’s tellers for

the after-hours memo posting of these deposits; (iv) all in order to make Lmitsu, RDT and RDAC’s

account balances appear to others as larger than they actually were. Throughout the two years

immediately preceding the bankruptcy, these late drawer memo posts occurred with increasing and

alarming frequency both in occurrence and in amount.

       41.     Toby Cecil knew that he was helping Shane Smith with his schemes. By way of

example, on February 12, 2018, and having forwarded to Cecil the receipts of the late drawer


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memo posts, Smith thanked Cecil for having made the arrangements to receive the “late drawer

memo deposits”.     Toby Cecil responded to this email with just one word…“Teamwork!”

(emphasis added).

       42.     Part 2: Vista Had Advance Knowledge Of FMCC Audits & Helped Shane Sail

Through: At all relevant times Ford Motor Credit Company (“FMCC”) was Lmitsu, RDAC and

RDT’s exclusive floor plan lender- a fact that was well known to Vista Bank and to Toby Cecil.

Also known to the bank and Cecil was the fact that FMCC’s floor plan loans required the

dealerships to repay the loan amount for each vehicle that was floored within a few business days

of each sale. They knew that when floor plan loan repayments were made, FMCC required the

dealerships to use a specialized Electronic Funds Transfer (“EFT”) system to transfer monies

directly from the dealerships accounts.

       43.     By way of its receipt of Lmitsu, RDAC and RDT’s financial statements, Vista and

Toby Cecil generally knew of the sales activity of each of the three dealerships. As demonstrated

by the dealerships’ Vista Bank statements, in most months, the EFT transfers to FMCC were far

less than the actual sales and certainly only a fraction of the massive deposits being made. The

one exception to this rule was during a month in which FMCC was undertaking a floor plan audit,

which occurred on a quarterly basis from 2017 through the filing of the bankruptcies.

       44.     The floorplan audits were intended to be made on a “surprise basis” and without

notice or warning to the dealerships. Following the conclusion of the audit, FMCC would provide

a list of payoffs that would have to be made to FMCC within seven (7) business days of the

conclusion of the audit. The post-audit payoffs were significant in amount, and were generally

multiples of the amounts which the dealerships paid to FMCC in a non-audit month. And even

with all of the intercompany deposits that flowed through the accounts, the post-audit payouts


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caused a major cash flow problem with the dealerships that frequently resulted in massive

overdrafts across the three checking accounts. All of this was known to Vista and its Lubbock

Market President Toby Cecil. And Vista and Cecil also would have known that the dealerships

were frequently making sales of vehicles out of trust.

       45.     It has now been well established that Smith had advanced knowledge of when the

supposedly “surprise audits” were going to occur. Smith shared this prior knowledge with Vista

Bank who, in turn, assisted Smith in prolonging the scheme. By way of example and in an email

dated September 18, 2017, Smith wrote to Cecil as follows:

       “We have our audit at the end of the week, so still making some big payoffs
       next couple of days but hope to keep the balances above $0 or as close as
       humanly possible.”

(emphasis added). By audit, Smith was referring to a Ford Motor Credit Company Audit that

occurred from September 21-22, 2017.

       46.     And yet Cecil responded to what was clearly a serious warning from Smith rather

apathetically, stating only “[t]hanks for the heads up.” Take in mind that in May and June 2017,

Vista Bank had loaned Lmitsu, RDT and RDAC some 5 million dollars, 3 million of which was

wholly unsecured. Cecil expressed no concern about the nature or severity of the forthcoming

audit or what effect it might have on the creditworthiness of the dealerships. Neither, for that

matter, did Toby Cecil inquire as to where Smith would be getting the money to make the

anticipated paydowns. The latter would seem to have been a particularly pertinent question in so

far as the day that Smith sent the email (September 18), the dealership finished the day overdrawn

across all three accounts by a collective $464,728.39.

       47.     In point of fact, and during the period that the September 2017 FMCC audit

transpired, the three business checking accounts finished the business day overdrawn a combined


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twelve (12) days out of a five (5) day period. On September 20, 2019, Lmitsu, RDAC and RDT

made intercompany deposits into their checking accounts totaling some $2,300,000.00, and in

anticipation of the payoffs they would be making the following day. These deposits were largely

from Debtors Reagor Auto Mall, LP, Reagor Dykes Amarillo, LP, Reagor Dykes Snyder, LP, and

Reagor Dykes Motors LP.

       48.    On September 21, 2017, the dealerships deposited a further $2,150,939.00, in

intercompany checks, largely from the same debtors as well as non-debtor D&R Acquisitions LLC.

Notwithstanding these massive deposits, by the close of business of the first day of the FMCC

Audit, the accounts finished the day overdrawn to the tune of $1,187,225.62. On September 22,

2017-the second day of the audit- even larger intercompany deposits were made (aggregating in

excess of $3,000,000.00), but the accounts still finished in the red to the $705,400.34. As to

outflows during this time, Lmitsu, RDAC and RDT made some $6.2 million in wire transfer

payments to Ford Motor Credit Company as the result of this audit.

       49.    Some of the money paid to FMCC was through the sub rosa short term extensions

of credit Vista Bank made to Lmitsu, RDT and RDAC by permitting large overdrafts across their

business checking accounts. The balance was from the deposits of large intercompany checks that

were used first to repay FMCC and later to repay Vista for the extensions of credit. All of this

was known to Cecil, Steinmetz and to others at Vista Bank.

       50.    On January 17, 2018, Smith again informed Cecil in advance of the next successive

Ford Motor Credit Audit. The notification was in the context of a conversation regarding a

charitable event, wherein Smith noted:

       “[W]e will have our friends out from Ford Credit starting tomorrow, so you’ll see
       some bigger payments as usual. We finished out last night with all possible and
       good amounts. We will proceed as always.”


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(emphasis added). Although Cecil did not immediately respond to the email, a similar result

followed. The audit began on January 18, 2018, and concluded the following day. Apparently, the

audit results were terrible and the ensuing payment to FMCC were indeed quite a bit larger than

normal- approximately $13,100,000.00 1, which sums were due and payable within seven business

days of the date of the audit. These monies were paid to FMCC via a series of several electronic

funds transfers (“EFTs”) over four business days, beginning on January 18, and concluding on

January 23, 2018.

          51.     Concurrently with these payoffs, Lmitsu, RDAC and RDT’s business checking

accounts experienced large overdrafts over two interludes which, when aggregated, are as follows:

                           January 18, 2018           ($2,923,468,39)
                           January 19, 2018           ($2,308,429.96)
                           January 22, 2018           ($2,887,676.62)
                           January 23, 2018           ($1,918,878.82)
                           And
                           January 26,2018            ($1,213,894.10)
                           January 29, 2018           ($3,031,736.40)
                           TOTAL:                     ($14,284,083.89)

As is evident, Vista Bank permitted Smith to pay FMCC via EFT with monies that the dealerships

did not actually have in their accounts. So, either Vista Bank permitted Smith to pay FMCC by

what is in essence a series of “hot” EFT transfers 2, or this is further evidence that Lmitsu, RDAC

and RDT’s business checking accounts were treated by the Bank as revolving lines of credit.




1
 The amount of the payments to FMCC is striking as the three dealerships had reported an aggregate $33,833,995.00
of new and used vehicles on hand as of December 31, 2017. See Exhibit B. Thus, this payment would have
approximated some 38.7% of the reported value of Lmitsu, RDAC and RDT’s inventory as of December 31, 2017.
2
  Upon information and belief, to the extent that an EFT transfer requires immediately available funds, it is unlikely
that Cecil alone would have had the authority to authorize these transfers from an account which lacked the collected
funds necessary to make the transfers. Such authority would have likely had to have come from John Steinmetz
directly.
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       52.     To his credit, and given the order of magnitude of the overdrafts, Cecil did make

inquiries with Shane Smith. In that regard, and on January 18, 2018, Toby Cecil made the

following inquiry:

       “Just checking back on the accounts. We have a couple that are more than $2mm
       now and subsequently raised a few internal flags. Will we have pending deposits to
       cover these debits?”

Smith gave Cecil several updates throughout the day regarding intercompany deposits that would

be made in an effort to cover the intraday overdrafts. When these deposits proved insufficient,

Smith sent the following email to Cecil regarding the status of forthcoming deposits:

       “Making more progress on some more! Might be after 4PM, who should Ashley go see for
       a memo post? Or should we just bring in drive through?”

(emphasis added). Cecil promptly agreed to facilitate the late drawer memo post, noting as

follows:

       “Thank you sir. We’ll let the tellers know to be on the lookout for any deposits and to
       memo post them.”

In this way, Toby Cecil and Vista Bank knowingly assisted Smith with the manipulation of the

check clearing process in order to “square” his FMCC audit and make it appear, at least for a time,

that Lmitsu, RDAC and RDT’s accounts had a certain amount of funds in their accounts when they

did not. And while the accounts nevertheless finished negative that day, it is likely they would

have been further in the red were it not for Vista condoning and assisting with such manipulations.

Vista benefited from this conduct as well. In so far as the Intraday Overdrafts would range in the

multiple millions of dollars, by facilitating the late drawer memo posting, they could mitigate the

risk of approaching their per-customer regulatory lending limit.

       53.     Smith also informed Vista in advance of FMCC’s March 20 -21 2018 surprise audit.

This audit also happened to coincide with a period in which a loan Vista had extended to Reagor


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and Dykes individually was up for renewal. In an email exchange dated March 19, 2018, Smith

stated:

          “I am going to have some extra deposit today, but they will be closer to 5 pm when
          here and ready. Already have the accounts covered but I’d like to go ahead and
          get these memos posted if possible today? I know it will just be memo post, but
          I am doing big payoffs this week for Ford Credit so I wanted to try and get a
          little ahead if that works for you.”

(emphasis added). Once again, Toby Cecil promptly agreed, but noted that this would also be

beneficial to the forthcoming loan approval:

          “Yes sir. I’ll make sure the tellers now [sic] as well. We have our board meeting
          this week so it would be beneficial to have everything as clean as possible.”

Later that evening and in the same e-mail chain, Smith replied to Cecil noting as follows:

          “Ok they got there before 5 and we have receipts but I don’t see them memo posted
          online, which if [sic] fine. We had good deposits today before these to cover
          everything.

          If they can memo post, it will help the beginning NSF balances out tomorrow
          morning as the payoffs that will hit are about twice as normal, but we’ll get
          them covered! I am going for a perfect audit this time, so I paid a lot off even if
          they say they are not needed! Clean and mean!”

(emphasis added). The memo posted deposits were nearly all intercompany checks.

          54.    Suffice it to say, the audit was not perfect, nor was it clean. In the seven business

days which followed the completion of the March 2018 audit, Lmitsu, RDAC and RDT made

approximately $9.9 million dollars in EFT payments to FMCC. Between March 20 and March 30

2018, the accounts finished the day overdrawn a combined total of 11 days. Nevertheless, and due

to the pre-planned manipulation of the check clearing process by Cecil and Smith, the True

Overdrafts were not nearly to the same order of magnitude as was the case with the January audit.

Moreover, and during the month of March 2018, there were sum total of $183,239,772.17, in

deposits across the three accounts, the majority of which were intercompany checks. And


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notwithstanding these deposits, the accounts finished the day overdrawn a combined thirty-one

(31) business days out of a thirty-day calendar month.

       55.     The above incidents are only examples of this behavior. Vista Bank had advanced

knowledge of when FMCC audits were going to occur. On the basis of the disparity of reported

sales and actual EFT Payments to FMCC, Vista also very likely knew that Smith was routinely

causing vehicles to be sold out of trust. Vista and Toby Cecil knowingly assisted Shane Smith

with his financial witchery by helping him conjure the monies necessary to repay FMCC that the

dealerships did have and through adept used of both the check clearing process and the apparently

unlimited revolving line of credit that Vista called a demand deposit account.

       56.     Part 3: Vista Helped Smith Create Additional “Float” With Intercompany Sight-

Draft Scheme: Among the other ways that Shane Smith used/created “float” to fuel his financial

schemes was by creating “sales” of vehicles between the various Reagor Dykes dealerships and

using an antiquated form of payment to support the transaction- the sight draft.

       57.     A sight draft is a form of documentary draft, not unlike a letter of credit used in

international business transactions. At its heart, it is payment against documents of title. The

drafting process was designed long ago and to facilitate transactions between unrelated buyers and

sellers so they could each mitigate the credit and performance risk of the other by allowing their

respective banks to act as intermediaries.

       58.     In a normal transaction involving a sight draft and between unrelated parties, one

dealership would “agree” to purchase a vehicle(s) from a third-party dealership. The selling

dealership, or the “drawer”, would deposit the draft together with the certificate of title to the

vehicle with its own bank. The selling dealership’s bank would thereafter present the draft together

with the certificate of title to the purchasing dealership’s bank for payment (the “drawee”). The


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draft would contain instructions for payment, usually upon “sight” plus a certain number of days.

Usually seven business days. During this time period, the purchaser’s bank would inspect the

certificate of title so as to insure its authenticity. Upon expiration of the time period and assuming

the title was good, the purchaser’s bank would issue a cashier’s check 3 by way of payment on the

draft; cause the same to be delivered to the seller’s bank, and concurrently deduct an equal amount

from the buyer’s bank account. Ostensibly, if the buyer lacked the funds to pay, the buyer’s bank

would return the draft, together with the documents of title to the seller’s bank. When the seller’s

bank received the cashier’s check from the buyer’s bank- and not before- it would deposit a like

amount of money into the seller’s bank account. Suffice it to say, the sheer complication of this

process belies its antiquated nature, as it could have just as easily been used to buy and sell herds

of cattle between far flung ranches in the 19th century, as it could for the buying and selling of

vehicles here.

         59.      As noted above, the entire purpose of the documentary sight draft process is to

mitigate credit and performance risk between unrelated parties. It serves virtually NO purpose in

a transaction between related parties, such as the various Reagor Dykes dealerships. Moreover,

the sheer volume of intercompany checks that were already being deposited between the

dealerships would seem to moot any need for the use of this process at all. That is until Shane

Smith, Toby Cecil and others at Vista Bank 4 devised a way to deploy a perverted version of the

drafting process in order help create additional “float,” which served as an unsecured lending

facility that benefitted Vista while avoiding Vista’s loan underwriting processes and review.


3
  The use of the cashier’s check is key to understanding the process. A cashiers’ check constitutes immediately
available funds, and because it is drawn on the bank instead of the buyer account, the seller does not bear the credit
risk of the buyer’s insolvency. It also illustrates why using a sight draft between two related parties serves zero
purpose UNLESS it is to create “float” under the perversion of the process implemented by Shane Smith and Vista
Bank and as explained below.
4
  The Debtors believe that Smith reached an agreement with at least one other bank on similar terms.

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           60.      Through their agreement, and once a selling Reagor Dykes dealership had

deposited a draft, Vista would give immediate credit to the selling dealership. It would transmit

the draft to the purchasing Reagor Dykes dealership which, in turn, would have anywhere between

seven to fourteen business days to pay on the draft. The “sale” of the vehicle would not officially

be consummated until the buying dealership’s bank paid the draft. At which time, presumably

Smith would cause the floorplan lender to be paid—assuming he paid the floor plan lender at all. 5

In receiving immediate credit for the drafts, Smith was essentially given free money for a period

of seven to fourteen business days.

           61.      Vista must have been aware of the enormous risks it was undertaking in giving

immediate credit on the drafts, as it did impose a backstop. In that regard, it required Lmitsu,

RDT, and RDAC to jointly execute an unsecured promissory revolving line of credit note in the

amount of $3,000.000 in May of 2017, which was renewed in May of 2018 (the “revolver”). Vista

would give immediate credit for any and all drafts deposited by Lmitsu, RDT and RDAC up to the

$3,000,000 and until the revolver was paid back down. Vista presumably paid the line back down

itself and with the cashier’s checks from the purchasing Reagor Dykes dealership’s banks.

Nevertheless, if the purchasing dealership failed to cause payment to be made, then Lmitsu, RDT

and RDAC would still remain liable for the immediate credit previously given on the deposited

draft. Moreover, and when the $3,000,000.00 limit was reached, Cecil would promptly shut off

the proverbial spigot and refuse to process further intercompany drafts until the line was paid back

down.

           62.      After a time, Vista gave up all pretense that this process was anything other than a

construct to create float when it ceased requiring that the selling dealerships tender original



5
    As stated above, Debtors believe that Vista Bank knew that Smith was regularly selling vehicles out of trust.
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certificates of title. All-in-all, hundreds of thousands of dollars changed hands between dealerships

on a daily basis and through this process. Moreover, each day Vista would send Smith a list of

both incoming and outgoing drafts, and ask Shane for instructions on when the incoming drafts

should be paid. Often Smith’s answer was outside the stated time period contained within the

language of the draft- a request Vista Bank honored. This sham draft process was utilized with

such frequency that it eventually got beyond the capacity of Vista’s smaller Plainview, Texas

branch. As such, a decision was made by Toby Cecil and Jo’Elda Luman to consolidate the

processing of all the Reagor Dykes intercompany drafts at a single location – i.e., Vista Banks’

98th Street Branch in Lubbock.

       63.     As set forth above, Vista knew the nature and extent of Shane’s fraudulent schemes.

Far from stopping them, they took active measures to help Smith carry out his schemes. Nowhere

is this assistance more evident that in the “float” created by the sham draft process that Toby Cecil

and others helped to implement here. The “sales” were nothing more than the meaningless

churning of inventory between dealerships. And the elaborate and antiquated method deployed to

pay for these sales was utterly without purpose- save for giving Smith free money to deploy

elsewhere.

       64.     E. #Respectthehustle: Steinmetz Seeks Help of Investment Bankers To Help

Dealerships Plug The Hole. As was his practice, on or about May 7, 2018, Shane Smith sent out

a quarterly business review for the first quarter of 2018 to all of the Debtor dealerships’ bankers

including John Steinmetz and Toby Cecil. However, and notwithstanding these obvious signs of

impending financial doom, Steinmetz responded to Smith’s update via email dated May 8, 2018

and as follows:

       “Incredible!! Congrats to the Greatest Auto Group in the World. #respectthehustle”


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(emphasis added). It goes without saying that Steinmetz was certainly “respecting the hustle” when

he received a series of luxury car leases that were heavily subsidized by Smith through direct cash

payments from the dealerships.

       65.     What is curious is Steinmetz’s touting of the dealerships as the “Greatest Auto

Group in the World” when and during the immediately preceding month of April 2018, Lmitsu,

RDAC and RDT had made an aggregate $182,103,066.05 in deposits into Vista Bank- largely in

intercompany deposits- but had finished the business day overdrawn a combined total of thirty-

seven (37) business days out of a thirty (30) calendar day month. The aggregate deposits were

approximately 8.76X the size of the combinws average monthly sales for the immediately

preceding calendar year. In fact, on May 1, 2018—just seven days before Steinmetz’s e-mail—

the three Vista Business checking accounts had finished off the day overdrawn by a combined

$1,510,457.57. All of these facts would have been known not to Steinmetz and Smith.

       66.     Later in the day on May 8, 2018, Steinmetz took it upon himself to forward Smith’s

quarterly business review to John Roddy, and Co-Head of Financial Services Investment Banking

with Raymond James Financial Services, Inc. Apparently, Roddy had previously done work for

Vista Bank. With the forward, Steinmetz noted as follows and with regard to the Reagor-Dykes

dealerships:

       “They need capital- let me know if you have an auto sales group. Wouldn’t be
       surprised if they don’t got [sic] public sooner than later. Apparently Group One
       Auto has tried to buy them a couple of times.”

(emphasis added). Roddy responded favorably to this email, indicating interest, carbon copying

another Raymond James Financial Services employee named Mark Goodman and directing

Steinmetz to his attention. Steinmetz thereafter responded to Roddy, Goodman as well as Shane

Smith, and Bart Reagor as follows:


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       Mark,

               Bart Reagor and the entire RDAG is an incredible salesman/story. There
       numbers are OFF the chart. I think they almost did a billion dollars in sales
       last year.

               His goal is to be the largest dealership in the country and I think he could
       do it with the right amount of capital and time.

               I would encourage you to reach out to them.

(emphasis added).

       67.     These email exchanges are telling. First, it demonstrates that Steinmetz was aware

of the giant hole in the Reagor Dykes dealerships’ balance sheet. Otherwise, why would he sua

sponte contact investment bankers in search of capital without first asking his customer’s

permission? Second, the email exchange shows that Steinmetz was personally aware that the

dealerships’ numbers were indeed “OFF the chart”- a fact which was undoubtedly troubling to him

given his knowledge of the overdrafts together with the massive amount of intercompany

transactions between and among the various Reagor Dykes dealerships.

       68.     Steinmetz’s reference to the 2017 sales numbers is equally problematic. In that

regard, the in the 2017 year-end financials provided to Vista state that across all eight dealerships

(inclusive of the three Vista dealerships) generated some $769,000,000 in sales, and this was

clearly the number being referenced in his email to the investment bankers. According to the same

financial statements, the three Vista dealerships, Lmitsu, RDT and RDAC, accounted for only 33%

of this sales revenue. However, and in the first four (4) calendar months of 2018 alone, these three

dealerships had deposited some $566,396,228.89 at Vista which number approximates: (a) 2.26X

the gross annual sales of the same three dealerships for 2017, and (b) roughly 74% of the gross

sales for all eight dealerships for 2017. All of this was, of course, known to Steinmetz.



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       69.     F. Post-Petition Transfers: Prior to the Petition Date, one or more of the Plaintiffs

maintained the below depository bank accounts with Defendant (the “Pre-Petition Accounts”).

         Account Number                      Account                     Account Holder

               xxx3387                       Checking                         RDAC

               xxx6693                       Checking                         RDAC

               xxx3409                       Checking                          RDI

               xxx2788                       Checking                          RDP

               xxx3395                       Checking                          RDP

               xxx2723                        Savings                         RDAC

               xxx9343                        Savings                          RDI

               xxx6842                        Savings                          RDP



       70.     As a regular course of Plaintiffs’ pre-Petition Date business operations, certain

receivables due and payable to one or more of the Plaintiffs were deposited directly into one or

more of the Pre-Petition Accounts.

       71.     On and after the Petition Date, Plaintiffs established new bank accounts with

Prosperity Bank in accordance with the guidelines (“Guidelines”) established by the United States

Trustee’s Office (“US Trustee”) for chapter 11 debtor-in-possession bank accounts (the “DIP

Accounts”):

         Account Number                      Account                     Account Holder

              xxxxx1290                       Payroll                         RDAC

              xxxxx1355                      Operating                        RDAC

              xxxxx8134                       Payroll                          RDP


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                 xxxxx8126                             Operating                                RDP

                 xxxxx1436                             Operating                                 RDI

                 xxxxx1428                              Payroll                                  RDI


          72.     On August 30, 2018, the Court entered its Third Interim Order (I) Authorizing the

Debtor to use Cash Collateral of Ford Motor Credit Company, (II) Granting Adequate Protection

for use Thereof, (II) Modifying the Automatic Stay to Allow for the Relief Requested Herein and

(IV) Continuing Final Hearing [Dkt. 192] (“Cash Collateral Order”).


           73.    The Cash Collateral Order set forth the full extent to which all of Plaintiffs’ cash

    and cash equivalents received after the Petition Date may be used in connection with Plaintiffs’

    ordinary course of business operations.

           74.    On and after the Petition Date, each Plaintiff provided instructions to immediately

    cease and refrain from any further deposits into their respective Pre-Petition Accounts. Each

    Plaintiff provided instructions for delivery of all future payments directly into the respective

    Plaintiff’s DIP Accounts. Despite Plaintiffs’ instructions, subsequent to the Petition Date, certain

    third parties continued making payments on the Plaintiffs’ receivables via direct deposits into the

    Pre-Petition Accounts maintained by Defendant.

           75.    The funds comprising the post-Petition Date deposits, transfers and/or credits

    maintained by Defendant in the Pre-Petition Accounts (“Post-Petition Deposits”) 6 are property

    of Plaintiffs’ Bankruptcy Estates under 11 U.S.C. § 541(a).

           76.    The Post-Petition Deposits do not comply with the terms of the Cash Collateral

Order. The Cash Collateral Order does not permit the Post-Petition Deposits to be maintained by

6
  As used herein, the defined term of “Post-Petition Deposits” means all cash and cash equivalents deposited,
transferred and/or credited in the Pre-Petition Accounts on and after the Petition Date, specifically including, without
limitation, the specific transfers set forth on Exhibit E hereto under the table heading entitled “Post-Petition Deposits.
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Defendant in the Pre-Petition Accounts. All Post-Petition Deposits must be maintained in the DIP

Accounts and used strictly in accordance with the terms of the Cash Collateral Order.

        77.    The Post-Petition Deposits violate the US Trustee’s Guidelines requiring all of the

Plaintiffs’ post-Petition Date deposits, credits and revenue generated to be held in the DIP

Accounts.

       78.     The Court has not entered any order authorizing the Post-Petition Deposits. As

such, the Post-Petition Deposits are not “authorized” by the Court under 11 U.S.C. § 549.

       79.     The Defendant is currently in possession, custody, dominion and control of the

Post-Petition Deposits.

       80.     The Post-Petition Deposits are avoidable and recoverable as unauthorized post-

petition transfers under 11 U.S.C. §§ 549, 550, and 551.

       81.     As an entity in possession of estate property under 11 U.S.C. § 541, Defendant is

required under 11 U.S.C. § 542 to turnover to Plaintiffs all funds comprising the Post-Petition

Deposits (as property of the bankruptcy Estates) to the DIP Accounts.

       82.     As the “transferee” of avoidable and recoverable transfers, Defendant is required

under 11 U.S.C. §§ 549, 550 and 551 to return to Plaintiffs (via transfer to Plaintiffs’ DIP

Accounts) all funds comprising the Post-Petition Deposits.

       83.     Plaintiffs have demanded that Defendant transfer all funds deposited and/or

credited in the Pre-Petition Accounts on and after the Petition Date, including the Post-Petition

Deposits, into the DIP Accounts. Defendant has failed and refused, and continues to fail and refuse,

to transfer the Post-Petition Deposits to DIP Accounts.

       84.     Defendant has not released any of the Post-Petition Deposits to Plaintiffs.



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       85.     Under 11 U.S.C. § 362(a)(3), Defendant has willfully violated the automatic stay

by knowingly retaining possession of, and intentionally exercising control over, property of the

Plaintiffs’ bankruptcy Estates.

       86.     Plaintiffs have sustained actual damages as a result of Defendant’s willful stay

violations. Plaintiffs have not had access to their cash proceeds in Defendant’s possession, which

has limited Plaintiffs’ cash flow since the Petition Date. The diminished use of cash flow has

damaged Plaintiffs’ ability to maximize business operations during the pendency of these

Bankruptcy Cases. Defendant is liable for the actual damages sustained by Plaintiffs arising from

Defendant’s unlawful control over the Post-Petition Deposits and corresponding restriction of

Plaintiffs’ post-Petition Date cash flow.

       87.     G. Plaintiffs Pay Non-Debtors Loans: On or about March 20, 2017, Vista Bank

extended to Bart Reagor and Rick Dykes a $2,000,000.00 line of credit note and known by Vista

as Loan No. 73213. Ostensibly, this indebtedness was a straight line of credit whose sole obligors

were Reagor and Dykes in their individual capacities. Notwithstanding the fact that the line of

credit did not revolve. Like the Plaintiff’s checking accounts, Vista Bank elected to treat this as a

revolving line of credit. Moreover, and notwithstanding the fact that Reagor and Dykes were the

only individuals liable for this indebtedness. The Debtor Plaintiffs made principal and interest

payments in excess of $770,000.00 towards the balance of this indebtedness. These transfers

should be set aside as fraudulent transfers, and the monies paid to Vista returned to the Plaintiffs.

       88.     H. Cross Claimants Pay Short Term Overdraft Indebtedness: Attached herewith

as Exhibit C is a list of overdrafts of Lmitsu, RDAC and RDT’s checking accounts that persisted

through two or more business days. As such, these overdrafts constituted True Overdrafts and

were therefore loans and/or extensions of credit under applicable law. These loans were repaid

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by-in large via transfers from the checking accounts of Cross Claimants. Each of these payments

should be set aside as fraudulent transfers, and the monies paid by the Cross Claimants returned to

their respective bankruptcy estates.

       89.     I. The Certificate of Deposit: Pursuant to that certain Agreed Order Modifying

Automatic Stay and found at Docket 271 in the main case, Plaintiffs reserved all of its rights

following the completion of its investigation to seek return of the monies comprising the certificate

of deposit which Vista Bank offset. See paras 6,7 and 9. For the reasons set forth at greater length

in the sections above, it is now apparent that Vista Bank aided and assisted Shane Smith in his

fraudulent schemes. As a consequence and pursuant to 11 U.S.C. § 502(d) and (j), there is cause

to revisit this order, and these monies should be returned.

                                       CLAIMS FOR RELIEF

                                              COUNT I

                     (Turnover of Property of the Estate —11 U.S.C. § 542)

       90.     Plaintiffs re-allege and incorporate by reference the preceding paragraphs of the

Complaint.

       91.     The Post-Petition Deposits represent the cash proceeds of receivables and other

property interests owned by Plaintiffs. Plaintiffs’ receivables were property of the Estates

pursuant to 11 U.S.C. §§ 541(a)(1), (7). Plaintiffs’ property interests in the credits deposited into

the Pre-Petition Accounts are property of the Estates pursuant to 11 U.S.C. §§ 541(a)(1), (7). As

such, the Post-Petition Deposits are property of the Estates under 11 U.S.C. §§ 541(a)(6), (7).

       92.     Defendant is in possession, custody and control of the Post-Petition Deposits.

       93.     Defendant is not authorized to have possession, custody or control of the Post-

Petition Deposits.

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        94.      The Post-Petition Deposits must be used in accordance with the Cash Collateral

Order pursuant to 11 U.S.C. § 363 to finance the working capital needs of Plaintiffs’ ordinary

course of business operations during the pendency of these Bankruptcy Cases.

        95.      The Post-Petition Deposits have more than inconsequential value to Plaintiffs’

Estates because the amount of the Post-Petition Deposits exceeds $1,320,434.32. These funds

must be used to finance Plaintiffs’ administration of the Estates in these Bankruptcy Cases. Without

access to such funds, Plaintiffs will incur unnecessary costs and additional expenses to administer the

Estates in these Bankruptcy Cases.

        96.      Accordingly, Defendant is required to turnover exclusive physical possession,

custody, dominion and control of the Post-Petition Deposits to Plaintiffs via transfer of the Post-

Petition Deposits into Plaintiffs’ DIP Accounts.

        97.      All conditions precedent to the bringing of this action have been performed or

have occurred.

                                              COUNT II

               (Avoidance of Unauthorized Post-Petition Transfers —11 U.S.C. § 549)

        98.      Plaintiffs re-allege and incorporate by reference the preceding paragraphs of the

Complaint.

        99.      The Post-Petition Deposits represent the cash proceeds of receivables and other

property interests owned by Plaintiffs. Plaintiffs’ receivables were property of the Estate

pursuant to 11 U.S.C. §§ 541(a)(1), (7). Plaintiffs’ property interests in the credits deposited into

the Pre-Petition Accounts are property of the Estate pursuant to 11 U.S.C. §§ 541(a)(1), (7). As

such, the Post-Petition Deposits are property of the Estate under 11 U.S.C. §§ 541(a)(6), (7).

        100.     The Post-Petition Deposits were delivered to the Pre-Petition Accounts

maintained by Defendant after the Petition Date.
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        101.    Defendant is the recipient of the Post-Petition Deposits.

        102.    Defendant is currently in possession, custody and control of the Post-Petition

Deposits.

        103.    Despite demand being made, Defendant refuses to provide Plaintiffs access to

the funds comprising the Post-Petition Deposits. Defendant intends to use the Post-Petition

Deposits to offset and/or recoup against Defendant’s alleged pre-Petition Date claims against

Plaintiffs’ Estates.

        104.    As the direct recipient of the Post-Petition Deposits, Defendant is a “transferee”

of the Post-Petition Deposits because the same are transfers from third parties to Defendant’s

dominion and control.

        105.    Defendant’s receipt of the Post-Petition Deposits constitutes one or more

“transfers” that occurred without Court authorization.

        106.    The Court did not authorize Defendant’s receipt of the Post-Petition Deposits.

        107.    The Post-Petition Deposits held by Defendant in the Pre-Petition Accounts

violate the US Trustee’s Guidelines.

        108.    Defendant’s possession and intended use of the Post-Petition Deposits violates

the terms of the Court’s Cash Collateral Order.

        109.    The Post-Petition Deposits must be used strictly in accordance with the terms of

the Court’s Cash Collateral Order.

        110.    Pursuant to the Cash Collateral Order, Plaintiffs must be provided access to the

Post-Petition Deposits to finance the working capital needs of Plaintiffs’ ordinary course of

business operations during the pendency of these Bankruptcy Cases.

        111.    As a result of the foregoing, pursuant to 11 U.S.C. § 549(a), Plaintiffs are entitled


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to judgment (a) avoiding all of the Post-Petition Deposits, (b) directing that each of the Post-

Petition Deposits be set aside, and (c) awarding the Plaintiffs such other and further relief that

is just and proper.

       112.      All conditions precedent to the bringing of this action have been performed or

have occurred.

                                             COUNT III

               (Recovery and Preservation of Avoided Conveyances — 11 U.S.C. §§ 550, 551)

       113.      Plaintiffs re-allege and incorporate by reference the preceding paragraphs of the

Complaint.

       114.      Plaintiffs are entitled to avoid the Post-Petition Deposits under 11 U.S.C. § 549

(collectively, the “Avoidable Transfers”).

       115.      Defendant was the initial transferee of the Avoidable Transfers or the immediate

or mediate transferee of such initial transferee or the person for whose benefit the Avoidable

Transfers were made.

       116.      Pursuant to 11 U.S.C. § 550(a), Plaintiffs are entitled to recover from Defendant

an amount not less than the total aggregate balance of all the Avoidable Transfers, plus interest

thereon to the date of payment and the costs of this action.

       117.      Pursuant to 11 U.S.C. § 551, all of the Avoidable Transfers are preserved for the

benefit of Plaintiffs’ bankruptcy Estates.

       118.      All conditions precedent to the bringing of this action have been performed or

have occurred.

                                             COUNT IV

              (Objection to and Disallowance of all Claims — 11 U.S.C. § 502(d) and (j))

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        119. Plaintiffs re-allege and incorporate by reference the preceding paragraphs of the

Complaint.

        120. Pursuant to Rule 3007(b) of the Bankruptcy Rules, a party in interest shall not

include a demand for relief of a kind specified in Rule 7001 of the Bankruptcy Rules in an

objection to the allowance of a claim but may include such objection in an adversary proceeding.

Rule 7001(8) specifies that an “adversary proceeding” includes any proceeding to subordinate

any claim or interest. Because Plaintiffs’ objections to Defendant’s claims include a request to

equitably subordinate such claims, Plaintiffs’ objection to any and all claims of Defendant

against Plaintiffs’ bankruptcy Estates should be merged into and included within this Adversary

Proceeding.

        121. Defendant is a transferee of transfers avoidable under section 549 of the

Bankruptcy Code, which property is recoverable and preserved under sections 550 and 551 of

the Bankruptcy Code.

        122. Defendant has not paid the amount of the Avoidable Transfers, or turned over

such property, for which Defendant is liable under 11 U.S.C. § 550.

        123. Pursuant to 11 U.S.C. § 502(d), any and all claims of Defendant and/or its

assignees, against Plaintiffs’ bankruptcy Estates must be disallowed until such time as

Defendant pays to Plaintiffs an amount equal to the aggregate amount of the Avoidable

Transfers, plus interest thereon and costs.

        124. In addition, Plaintiffs’ investigation of the fraud allegations raised in the Ford

Litigation is ongoing. Included within Plaintiffs’ investigation is the extent of Defendant’s

involvement in the fraudulent activities alleged by Ford. The extent of Defendant’s potential

involvement and liability remains undetermined at this time. To the extent Defendant’s liability


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exceeds the balance of Defendant’s claims against Plaintiffs’ bankruptcy Estates, Defendant will

not hold an enforceable right to payment against the Estates under 11 U.S.C. § 502(d). Without

an enforceable right to payment, no debt would exist and Defendant cannot hold a “claim” as

defined under 11 U.S.C. § 101(5). Without a “claim” against Plaintiffs, any and all security

interests pledged to secure such nonexistent debt will also cease to exist.

        125. Through this adversary proceeding and pursuant to Rule 3007(b) of the

Bankruptcy Rules, Plaintiffs object to, seek to disallow, and seek to withhold any distributions

to Defendant, and seek to prevent Defendant from enforcing any and all portions of Defendant’s

alleged claims against the Estates, both secured and unsecured, until such time as (i) Plaintiffs’

investigation against Defendant is concluded and (ii) Defendant pays to Plaintiffs an amount

equal to the aggregate amount of the Avoidable Transfers, plus interest thereon and costs.

        126. Pursuant to 11 U.S.C. § 502(j), any and all claims of Defendant and/or its

assignee(s) against Plaintiffs’ bankruptcy Estates previously allowed, if any, must be

reconsidered and disallowed until such time as (i) Plaintiffs’ investigation against Defendant is

concluded and (ii) Defendant pays to Plaintiffs an amount equal to the aggregate amount of the

Avoidable Transfers, plus interest thereon and costs.

        127. All conditions precedent to the bringing of this action have been performed or

have occurred.

                                             COUNT V

              (Equitable Subordination of Defendant’s Claim(s) Against the Debtors)

       128.      Plaintiffs re-allege and incorporate by reference the preceding paragraphs of the

Complaint.

       129.      Subject to proof, any claim asserted by Defendant against Plaintiffs’ bankruptcy


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Estates arises from inequitable conduct, including conduct described in this Complaint, which

has resulted in injury to creditors or the conferring of an unfair advantage on Defendant. This

inequitable conduct has resulted in hardship to Plaintiffs’ bankruptcy Estates and the entire

creditor body. Accordingly, pursuant to §§ 510(c)(1) and 105(a), Defendant’s claims against

Plaintiffs’ bankruptcy Estates should be equitably subordinated to the allowed claims of

legitimate general unsecured creditors for distribution purposes. In addition, to the extent

Defendant claims to have a lien with respect to any transfer it received from a Debtor, such lien

should be transferred to the Debtor’s estate pursuant to § 510(c)(2) and 105(a).

       130.      All conditions precedent to the bringing of this action have been performed or

have occurred.

                                             COUNT VI

                  (Compensatory Damages for Willful Violation of Automatic Stay)

       131.      Plaintiffs re-allege and incorporate by reference the preceding paragraphs of the

Complaint.

       132.      The Post-Petition Deposits represent the cash proceeds of receivables and other

property interests owned by Plaintiffs. Plaintiffs’ receivables were property of the Estates

pursuant to 11 U.S.C. §§ 541(a)(1), (7). Plaintiffs’ property interests in the credits deposited

into the Pre-Petition Accounts are property of the Estates pursuant to 11 U.S.C. §§ 541(a)(1),

(7). As such, the Post-Petition Deposits are property of the Estates under 11 U.S.C. §§ 541(a)(6),

(7).

       133.      Plaintiffs have demanded that Defendant transfer all funds deposited, specifically

including the Post-Petition Deposits, into the Pre-Petition Accounts on and after the Petition

Date into Plaintiffs’ DIP Accounts.


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       134.      Defendant has failed and refused, and continues to fail and refuse, to transfer the

Post-Petition Deposits to Plaintiffs’ DIP Accounts.

       135.      Defendant has not released any of the Post-Petition Deposits to Plaintiffs.

       136.      Under 11 U.S.C. § 362(a)(3), Defendant has willfully violated the automatic stay

by knowingly retaining possession of, and intentionally exercising control over, property of

Plaintiffs’ bankruptcy Estates.

       137.      Plaintiffs have sustained actual damages as a result of Defendant’s willful stay

violations, including, without limitation, attorneys’ fees and costs.

       138.      Plaintiffs have not had access to their cash proceeds in Defendant’s possession,

which has damaged Plaintiffs’ ability to maximize business operations during the pendency of

these Bankruptcy Cases.

       139.      Defendant is liable to Plaintiffs for compensatory damages arising from

Defendant’s unlawful control over the Post-Petition Deposits and corresponding restriction of

Plaintiffs’ post-Petition Date cash flow.

       140.      All conditions precedent to the bringing of this action have been performed or

have occurred.

                                             COUNT VII

                     (Avoidance of Preferential Transfers – 11 U.S.C. § 547)

       141.      Plaintiffs hereby incorporate all preceding paragraphs as if fully set forth herein.

       142.      Defendant extended immediate credit to RDAC, Lmitsu, and RDTany time a

sight draft was presented for payment. By doing so, Defendant unlawfully created a short-term

credit facility outside of its standard underwriting and credit procedures and practices.

       143.      At the time of the Transfers, By providing immediate credit to RDAC, Lmitsu,


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and RDT upon presentment of a sight draft for payment, Defendant had a right to payment on

account of an obligation owed to Defendant by the Debtor.

       144.    RDAC, Lmitsu, and RDT transferred funds to Defendant to pay the obligations

(the “Sight Transfers.” The Sight Transfers were to or for the benefit of a creditor within the

meaning of section 547(b)(1).

       145.    The Sight Transfers either reduced or fully satisfied a debt then owed by the

Debtor to Defendant.

       146.    The Sight Transfers were for, or on account of, antecedent debts owed by the

Debtor before the Sight Transfers were made within the meaning of section 547(b)(2).

       147.    Defendant was a creditor of the Debtor at the time of the Sight Transfers within

the meaning of 11 U.S.C. § 101(10)(A).

       148.    The Debtor was insolvent at all times during the 90 days prior to the Petition Date

within the meaning of section 547(b)(3) and (4).

       149.    Pursuant to section 547(b)(5), the Sight Transfers to the Defendant enabled the

Defendant to receive more than it would have received if: (i) the Debtor’s case was under chapter

7 of the Bankruptcy Code; (ii) the Sight Transfers had not been made; and (iii) Defendant

received payment of its debt under the provisions of the Bankruptcy Code.

       150.    By reason of the foregoing, the Sight Transfers to the Defendant are avoidable

pursuant to 11 U.S.C. § 547(b). As a result, the Plaintiff may recover the amount or value of the

Sight Transfers from the Defendant pursuant to 11 U.S.C. § 550.

       151.    Defendant also extended credit to RDAC, Lmitsu, and RDT by allowing “True

Overdrafts” that were not intraday overdrafts and that served as short-term loans made outside

of Vista’s normal loan review or loan committee processes. By doing so, Defendant unlawfully


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created a short-term credit facility outside of its standard underwriting and credit procedures and

practices.

       152.    By providing these short-term loans to RDAC, Lmitsu, and RDT, Defendant had

a right to payment on account of an obligation owed to Defendant by the Debtor.

       153.    RDAC, Lmitsu, and RDT transferred funds to Defendant to pay the amounts it

owed for True Overdrafts (the “True Overdraft Transfers.” The True Overdraft Transfers were

to or for the benefit of a creditor within the meaning of section 547(b)(1).

       154.    The True Overdraft Transfers either reduced or fully satisfied a debt then owed

by the Debtor to Defendant.

       155.    The True Overdraft Transfers were for, or on account of, antecedent debts owed

by the Debtor before the True Overdraft Transfers were made within the meaning of section

547(b)(2).

       156.    Defendant was a creditor of the Debtor at the time of the True Overdraft Transfers

within the meaning of 11 U.S.C. § 101(10)(A).

       157.    Pursuant to section 547(b)(5), the True Overdraft Transfers to the Defendant

enabled the Defendant to receive more than it would have received if: (i) the Debtor’s case was

under chapter 7 of the Bankruptcy Code; (ii) the True Overdraft Transfers had not been made;

and (iii) Defendant received payment of its debt under the provisions of the Bankruptcy Code.

       158.    By reason of the foregoing, the True Overdraft Transfers to the Defendant are

avoidable pursuant to 11 U.S.C. § 547(b). As a result, the Plaintiff may recover the amount or

value of the True Overdraft Transfers from the Defendant pursuant to 11 U.S.C. § 550.

       159.    In addition to the Sight Transfers and True Overdraft Transfers, Lmitsu, RDAC,

and RDT also made other transfers of funds to Defendant to pay various fees owed to Vista as


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well as principal and interest on existing an unsecured credit facility during the 90 days before

the Petition Date.

       160.    In May, June, and July 2018, Lmitsu transferred to Defendant (a) $225,000 in

principal on an unsecured credit facility, (b) $44,091.45 in interest on an unsecured credit

facility, and (c) $83,320.82 in fees.

       161.    In May, June, and July 2018, RDAC transferred to Defendant (a) $115,000 in

principal on an unsecured credit facility, (b) $8,671.83 in interest on an unsecured credit facility,

and (c) $78,558.95 in fees

       162.    In May, June, and July 2018, RDT transferred to Defendant (a) 47,000 in

principal on an unsecured credit facility, (b) $21,399.83 in interest on an unsecured credit

facility, and (c) $73,682.86 in fees.

       163.    The transfers in paragraphs 72, 73, and 74 shall be referred to as “Bank

Transfers.”

       164.    The Bank Transfers were to or for the benefit of a creditor within the meaning of

section 547(b)(1).

       165.    The Bank Transfers either reduced or fully satisfied a debt then owed by the

Debtor to Defendant.

       166.    The Bank Transfers were for, or on account of, antecedent debts owed by the

Debtor before the Bank Transfers were made within the meaning of section 547(b)(2).

       167.    Defendant was a creditor of the Debtor at the time of the Bank Transfers within

the meaning of 11 U.S.C. § 101(10)(A).

       168.    Pursuant to section 547(b)(5), the Bank Transfers to the Defendant enabled the

Defendant to receive more than it would have received if: (i) the Debtor’s case was under chapter


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7 of the Bankruptcy Code; (ii) the Bank Transfers had not been made; and (iii) Defendant

received payment of its debt under the provisions of the Bankruptcy Code.

       169.    By reason of the foregoing, the Bank Transfers to the Defendant are avoidable

pursuant to 11 U.S.C. § 547(b). As a result, the Plaintiff may recover the amount or value of the

Bank Transfers from the Defendant pursuant to 11 U.S.C. § 550.

                                          COUNT VIII

                      (Recovery of Avoided Transfers—-11 U.S.C. § 550)

       170.    Plaintiff hereby incorporates all preceding paragraphs as if fully set forth herein.

       171.    Plaintiff is entitled to avoid the Transfers, Sight Transfers, True Overdraft

Transfers, and Bank Trasnfers, pursuant to section 547(b), any Fraudulent Transfer pursuant to

section 544 or 548, and any Post-Petition Transfers pursuant to section 549.

       172.    The Transfers, Sight Transfers, True Oversight Transfers, Bank Transfers, any

Fraudulent Transfers and any Post-Petition Transfers are collectively referred to herein as “All

Avoided Transfers.”

       173.    Defendant was the initial transferee of the All Avoided Transfers or the immediate

or mediate transferee of such initial transferee or the person for whose benefit All Avoided

Transfers were made.

       174.    Pursuant to section 550(a), Plaintiff is entitled to recover from Defendant All

Avoided Transfers, plus interest thereon to the date of payment and the costs of this action.

                                           COUNT IX

(Avoidance, Preservation, and Return of Actual Fraudulent Transfers under—-11 U.S.C. §
                             544, 548(a)(1)(A), 550, and 551)

       175.    Plaintiffs hereby incorporate all preceding paragraphs as if fully set forth herein.

       176.    During the two years prior to August 1, 2018, each Plaintiff who had a demand

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deposit or checking account with Vista routinely and repeatedly carried negative balances on their

respective accounts for multiple days at a time. Each such multi-day negative balance constituted

an unsecured loan or extension of credit or debt. Deposits made into each Plaintiff’s demand

deposit or checking accounts that served to pay off such multi-day negative balances were made

from the property of a Debtor.

        177.    Each such transfer was made with the intent to hinder, delay, or defraud creditors

of the Debtor because the transfer was made in connection with and in furtherance of Smith’s

fraudulent scheme

        178.    Each such transfer was in violation of 11 U.S.C. §548(a)(1)(A).

        179.    Defendant is either the initial transferee or the immediate or mediate transferee of

such initial transferee.

        180.    As of the date hereof, Defendant has not returned any such transfer to the Plaintiffs,

        181.    The Defendant did not receive such transfers in good faith and without knowledge

of the voidability of such transfers.

        182.    As a result of the foregoing, pursuant to 11 U.S.C. §§544, 548(a)(l)(A), 550, and

551 and Texas Business and Commerce Code §24.005, Plaintiffs are entitled to a judgment (a)

avoiding and preserving the transfers; (b) directing that the transfers be set aside; and (c)

recovering the transfers, or the value thereof, from the Defendant.

        183.    As set forth in paragraph 86 above, the checks and transfers from Cross Claimants

that were deposited into the Plaintiffs’ accounts described in paragraph 86 were also transfers made

with the intent to hinder, delay, or defraud creditors of the Debtor because the transfer was made

in connection with and in furtherance of Smith’s fraudulent scheme

        184.    Each such transfer was in violation of 11 U.S.C. §548(a)(1)(A).

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        185.    Defendant is either the initial transferee or the immediate or mediate transferee of

such initial transferee.

        186.    As of the date hereof, Defendant has not returned any such transfer to the Cross

Claimants.

        187.    The Defendant did not receive such transfers in good faith and without knowledge

of the voidability of such transfers.

        188.    As a result of the foregoing, pursuant to 11 U.S.C. §§544, 548(a)(l)(A), 550, and

551 and Texas Business and Commerce Code §24.005, Cross Claimants are entitled to a judgment

(a) avoiding and preserving the transfers; (b) directing that the transfers be set aside; and (c)

recovering the transfers, or the value thereof, from the Defendant.

                                  RESERVATION OF RIGHTS

        189.    During this proceeding, Plaintiffs may learn through discovery or otherwise of

additional transfers that were unknown to the Plaintiffs as of the date of this Complaint.

        190.    Plaintiff intends to avoid and recover all transfers of the Debtors’ interest in

property and to or for the benefit of the Defendant or any other transferee. Plaintiffs reserve their

rights to supplement and amend this Complaint including without limitation, the right to (a) further

state/allege/aver information regarding the transfers, (b) seek to recover additional transfers, (c)

modify or revise the Defendant, (d) allege additional causes of action arising under Chapter 5 of

the Bankruptcy Code that may become known to Plaintiffs at any time during this proceeding

through discovery or otherwise, and for all such amendments to relate back to the original

complaint.

        191.    If Defendant has filed a proof of claim or have a claim listed on the Debtor’s

schedules as undisputed, liquidated, and not contingent, or have requested or may otherwise

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request payment from the Debtors, this Complaint is not intended to be, nor should it be construed

as, a waiver of any Plaintiff’s right to object to such Claims for any reason, including, without

limitation, 11 U.S.C. §502; and all such rights are expressly reserved.

                                     PRAYER FOR RELIEF

        For the foregoing reasons, Plaintiffs ask the Court to grant them all of the relief requested

in this First Amended Complaint. Plaintiffs further requests all other relief to which it may be

justly entitled.


                                              Respectfully submitted,

                                              /s/
                                              Andrew R. Seger
                                              State Bar No. 24046815
                                              KEY TERRELL & SEGER, LLP
                                              P.O. Box 98433 (Mail)
                                              Lubbock, Texas 79499
                                              4825 50th St., Ste A
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                                              aseger@thesegerfirm.com

                                              And

                                              Marc S. Tabolsky
                                              Texas Bar No. 24037576
                                              Andrew S. Hicks
                                              Texas Bar No. 24032419
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                                              ahicks@shjlawfirm.com
                                              mtabolsky@shjlawfirm.com

                                              SPECIAL LITIGATION COUNSEL TO
                                              DEBTORS


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                                CERTIFICATE OF SERVICE

         I hereby certify that on this ____ day of January 2020, the foregoing was filed in the
 papers of this case with those parties receiving electronic notices herein presumptively
 receiving a copy of same.



                                                   /s/
                                                   By: Andrew R. Seger




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                                  EXHIBIT "A":
                           Steinmetz Lease Document Suite
         "A-1" Summary Of Lease Payments Made By Debtors On Behalf Of John Steinmetz
            "A-2" Exemplar Substitution of Lease Payments Executed By John Steinmetz
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 Reagor Auto Mall Payments on Tex-Fi Leases to John Steinmetz of Vista Bank

. 2015 Cadillac Escalade Premium July 23, 2015 / Tex-Fi Account# Ll52 (Vista Bank Lessee)
                                             Date         RAM Check#       Amount
                                              8/28/2015          119907      6,000.00
                                               2/23/2016          127407     6,000.00
                                                9/6/2016          137887     6,000.00
                                               2/22/2017         149439      5,000.00
                                Subtotal                                    23,000.00
                   Total Lease Payments                                     41,966.16
          % of Lease Payments by RAM                                             55%
               RAM Purchase of Vehicle          5/8/2017          154399    52,026.86

 2015 Chevrolet Tahoe LTZ / December 15, 2014 / Tex-Fi Account#L129
                                          Date            Check#          Amount
                                          12/29/2014           109153      14,664.84
                                           1/20/2016           125975       8,664.84
                                           7/18/2016           135124      10,836.00
                              Subtotal                                     34,165.68
                 Total Lease Payments                                      43,994.52
         % of Lease Payments by RAM                                             78%

 2016 BMW 750 XI/ April 1, 2017 / Tex-Fi Account# L262 (Vista Bank Lessee)
                                           Date          Check#         Amount
                                            5/10/2017            154274  15,005.10
                                            11/7/2017          . 167089  10,505.10
                                            5/14/2018            184226  15,005.10
                             Subtotal                                    40,515.30
                Total Lease Payments                                     60,020.40
        % of Lease Payments by RAM                                            68%

 2016 Infiniti QX80 / June 14, 2017 / Tex-Fi Account# L281
                                              Date         Check#         Amount
                                               7/24/2017        159514      7,786.32
                                                8/1/2017        159515      7,786.32
                                               7/27/2018        191159     14,274.92
                               Subtotal                                    29,847.56
                  Total Lease Payments                                     49,125.48
          % of Lease Payments by RAM                                            61%

 2016 Toyota Land Cruiser April 6, 2016 / Tex-Fi Account# L199
                                             Date        RAM Check #      Amount
                                               5/6/2016        131388       4,060.86
                                              11/6/2016        141157       4,860.86
                                              5/10/2017        154276       4,060.86
                                               8/7/2017        160434       5,898.90
                              Subtotal                                     18,881.48
                 Total Lease Payments                                      33,043.44
         % of Lease Payments by RAM                                             57%

               Total Lease Pay1nents       $228,150.00
               Total RAM Payments;         $146,410.02
    % of Total Lease Payments by RAM              64%
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                                           Substitution of Lease Payments
VI,ta Bank, referred to as Lessee, and Reagor-Dykes Auto Group/ Tex-Fi Capital, LLC, referred to as SECURED PARTY, ,191,·,':

Vista Bank Is indebted to SECURED PARTY pursuant to a lease dated 4/1/2017, in tile original principal amount of $95,332.';0; w1t11 a prt-,,'I11
total interest and principal balance of $95,332.50, and a security agreement dated 4/1/2017 and has pledged as security fo, lhe le<1� the
following:
vm # \NBA7F2CSXGG416846

In completmg U11s document, total payments due from Vista Bank each month shall be $750.00 to Tex-Fi Capital, LLC. The l<eayor Dyke� r,uto
i,ro11p ,hall make up the difference by paying the remaining $1,750.85 per month of the $2500.85 amount of monthly pay111enb listed on the
1 1Jnt1 act

Calt!d. 4/1/17




              ______ , SECURED PARTY

Subst1tut1on of Lease Payments
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                   <PclQCY d\JkP5 dUto Q'OUP




 Vista Bank, referred to as Lessee, and Reagor-Dykes Auto Group/ Tex-Fi Capital, LLC, referred to as SECURED PAR1Y, agree:

 Vista Bank is indebted to SECURED PAR1Y pursuant to a lease dated 7/23/2015, in the original principal amount of $8'1,518.07; with a present
 total interest and principal balance of $84,518.07, and a security agreement dated 7/23/2015 and has pledged as security for the lease the
 following:
 vin # 1GYS4NKJ3FR611901

In completing this document, total payments due from Vista Bank each month shall be $Z1§..59 to Tex-Fi Capital. LLC. The Reagor Dykes Auto
Group shall make up the difference by paying the remaining $1,000 per month of the $17'18.59 amount of monthly payments listed on the
contract.                                                                          ...•..,.--·-

Dated: 7/23/2015



            �
           �s�Aky-Current Lessee




                                               1
_____---,.....,.,,,,,,....� SECURED PAR Y

Substitution of Lease Payments
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                                  EXHIBIT "B"
                One Year Summary of Deposits In Relation To Economic Activity of
                            Lmitsu, RDAC and RDT Dealerships
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                                                     EXHIBIT "B"
                                        TO DEBTORS FIRST AMENDED COMPLAINT

                             ANALYSIS OF OVERALL BUSINESS RELATIONSHIP OF DEBTORS
                                        REAGOR DYKES IMPORTS, LP (LMITSU)
                                      REAGOR DYKES PLAINVIEW, LP (RDT), AND
                                     REAGOR DYKES AUTO COMPANY, LP (RDAC)
                       WITH VISTA BANK DURING 12 MONTH PERIOD PRECEDING BANKRUPTCY
   Total Deposits For Period From 8/17     Total Deposits For Period From  Total Deposits For 12 Month Period
                 to 1/18                            2/18 to 7/18                   From 8/17 to 7/18
            $351,286,649.46                            $1,052,762,148.44                            $1,404,048,797.90
  Combined Total     COB Overdrafts1     For      Combined Total COB Overdrafts             Combined Total COB Overdrafts For




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      Period From 8/17 to 1/18                     For Period From 2/18 to 7/18             12 Month Period From 8/17 to 7/18
                                                                                                          368 Days
                                                                       !
                 132 Days                                    237Days


             VISTA BANKS' A SSET SIZE PER QUARTERLY CALL REPORTS FILED WITH BANK REGULATORS
      Third Qtr. 2017      I
                          Fourth Qtr. 2017            I
                                               First Qtr. 2018                   I
                                                                  Second Qtr. 2018   Third Qtr. 2018         I
      ssBo,686,000.00      I
                          $Go4,02G,ooo.oo             I
                                              $685,963,ooo.oo     s1s4,s23,ooo.ooI   sn1,449,ooo.oo          I
Seven Quick Facts About LMITSU, RDT & RDAC's Overall Relationship With Vista:

      1.   All referenced deposits were made into just three (3) Demand Deposit Accounts which are similar in nature to business
           checking accounts.

      2.   The combined deposits of the three entities during the six month period between 8/17 and 1/18 is around 51% of the
           entire asset size of Vista Bank in the First Quarter of 2018.

      3.   The combined deposits of the three entities during the six month period between 2/18 and 7/18 is in excess of 135%
           of the entire asset size of Vista Bank in the Third Quarter of 2018.

      4.   The combined deposits of the three entities during the 12 month period between 8/17 and 7/18 is around 180% of the
           entire asset size of Vista Bank in the Third Quarter of 2018.

      5.   Although Vista Bank does not operate on federal holidays or Sundays, the entities' three {3) checking accounts finished
           the business day overdrawn a combined 132-days within a 183-calendar day period between 8/17 to 1/18.

      6.   Although Vista Bank does not operate on federal holidays or Sundays, the entities' three (3) checking accounts finished
           the business day overdrawn a combined 237 days within a 180-calendar day period from 2/18 through 7/18.

      7.   Although Vista Bank does not operate on federal holidays or Sundays, the entities' three checking accounts finished the
           business day overdrawn a combined 369 days within a 365-calendar day period from 8/17 through 7/18.




1 COB Overdraft Days refers to the number of banking days which the checking account finished the day overdrawn. Banking
days do not include Sundays or federal holidays.


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                       Reagor Dykes Imports, LP (LMITSU)-Vista DOA Account #2058194
                  Per 2016 & 2017 Consolidated Year-End Financials & Vista Bank Statements
               DEPOSIT ACTIVITY & OVERDRAFTS IN 12 MONTH PERIOD PRECEDING PETITION DATE
     8/17 - 1/18 Deposits & COB Overdraft Days               2/18 - 7/8 Deposits & COB Overdraft Days
 Aug. 2017         $16,313,158.53       3 Days       Feb. 2018             $41,118,903.21          8 Days
 Sept. 2017        $20,303,662.70      13 Days       March 2018            $62,698,365.30          8 Days
 Oct. 2017         $22,827,694.75       4 Days       April 2018            $65,481,589.12         14 Days
 Nov. 2017         $21,950,534.37       7 Days       May 2018              $62,477,280.22         17 Days
 Dec. 2017         $22,413,975.45       7 Days       June 2018             $63,999,210.96         17 Days
 Jan. 2018         $30,182,219.30      12 Days       July 2018             $76,756,930.87         12 Days
    6 Mos. Tot. $133,991,245.10        46 Days             6 Mos Tot.     $372,532,279.68         77 Days
                       12 Mos Tot.          $506,523,524.78                           122 Days


          ACTUAL BUSINESS OF DEALERSHIP DESCRIBED IN FINANCIAL STATEMENTS PROVIDED TO VISTA
           2016 Consolidated Annual Financial Statement (Sent by Shane Smith to Toby Cecil on 2/25/17)
 Gross Sales For Vear Avg. Monthly Sales        Avg. Daily Sales      2016 Dec. Sales          Dec. Inventory
      $100,867,426.00           $8,405,618.83              $280,187.29              $9,632,369.00            $12,329,037.00




             VISTA BANKS' ASSET SIZE PER QUARTERLY CALL REPORTS FILED WITH BANK REGULATORS
      Third Qtr. 2017     Fourth Qtr. 2017    First Qtr. 2018    Second Qtr. 2018   Third Qrt. 2018
      $580,686,000.00          $604,026,000.00          $685,963,000.00           $754,523,000.00           $777,449,000.00

Nine Quick Facts About Reagor Dykes Imports, LP (Lubbock Mitsubishi Dealership):

      1.   Deposits during 6 month period from 8/17 to 1/18 are equal to 132% of entire gross dealership sales for 12 month
           period comprising fiscal year 2016.

      2.   August 2017 deposits are nearly 2X average monthly dealership sales for 2016.

      3.   January 2018 deposits are nearly 3.6X average monthly dealership sales for 2016.

      4.   Deposits during 6 month period from 8/17 to 1/18 are equal to nearly 20% of Vista Bank's entire asset size in the First
           Quarter of 2018.

      S.   Deposits from period of 2/18 to 7/18 are nearly 4X annual dealership sales for 2017, and nearly 2X the combined annual
           dealership sales for fiscal years 2016 and 2017.

      6.   February 2018 deposits are 4.89X 2016 average monthly dealership sales, and 5.28X 2017 average monthly dealership
           sales.

      7.   July 2018 deposits are 9.13X 2016 average monthly dealership sales, and 9.87X 2017 average monthly dealership sales.

      8.   Deposits from period of 2/18 to 7/18 are equal to 47.9% of Vista Bank's entire asset size in the Third Quarter of 2018.

      9.   Deposits during the 12 month period from 8/17 to 7/18 are equal to 65% of Vista Bank's entire asset size in the Third
           Quarter of 2018.




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                          Reagor Dykes Plainview, LP (RDT)- Vista DDA Account# 7012788
                    Per 2016 & 2017 Consolidated Year End Financials & Vista Bank Statements
                 DEPOSIT ACTIVITY & OVERDRAFTS IN 12 MONTH PERIOD PRECEDING PETITION DATE
     8/17 - 1/18 Deposits & COB Overdraft Days                Feb - July 2018 Deposits & COB Overdraft Days
 Aug. 2017          $12,973,004.35       3 Days        Feb. 2018                $36,929,435.95        9Days
 Sept. 2017         $18,162,609.34       5 Days        March 2018               $60,760,004.48       11 Days
 Oct. 2017          $19,035,879.83       3 Days        April 2018               $58,622,822.21       15 Days
 Nov. 2017          $16,527,008.92        6Days        May 2018                 $54, 799.694.82      17 Days
 Dec. 2017          $18,065,275.08       6Days         June 2018                $60,278,557.08       18 Days
 Jan. 2018          $28,587,046.08       10Days        July 2018                $70,876,993.08       11 Days
      6 Mos. Tot. $113,350,823.60        33 Days              6 Mos. Tot.      $342,267,507.62       Bl Days
                      12 Mos. Tot.             $455,618,331.22                             114 Days

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           ACTUAL BUSINESS OF DEALERSHIP DESCRIBED IN FINANCIAL STATEMENTS PROVIDED TO VISTA
                2016 Consolidated Financial Statement (Sent by Shane Smith to Toby Cecil on 2/25/17}
 Gross Sales For Year   Avg. Monthly Sales        Avg. Daily Sales       2016 Dec. Sales          Dec. Inventory
      $66,300,630.00               $5,525,052.50                  $184,168.42                 $6,990,431.00                 $9,617,840.00
                    2017 Consolidated Financial Statement (Sent by Shane Smith to Toby Cecil on 3/26/18}
                            Avg. Monthly Sales        Avg. Daily Sales       2017 Dec. Sales




             VISTA BANKS' ASSET SIZE PER QUARTERLY CALL REPORTS FILED WITH BANK REGULATORS
      Third Qtr. 2017     Fourth Qtr. 2017    First Qtr. 2018    Second Qtr. 2018   Third Qrt. 2018
   $580,686,000.00               $604,026,000.00               $685,963,000.00              $754,523,000.00               $777,449,000.00


Nine Quick Facts About Reagor Dykes Plainview, LP (Plainview Toyota Dealership):

      1.   Deposits during 6 month period from 8/17 to 1/18 are equal to 170% of entire gross dealership sales for 12 month
           period comprising fiscal year 2016.

      2.   August 2017 deposits are 2.34X average monthly dealership sales for 2016.

      3.   January 2018 deposits are 5.17X average monthly dealership sales for 2016.

      4.   Deposits during 6 month period from 8/17 to 1/18 are equal to more than 16.5% of Vista Banks entire asset size in the
           First Quarter of 2018.

      5.   Deposits from period of 2/18 to 7/18 are nearly 4.SX annual dealership sales for 2017, and 2.4X the combined annual
           dealership sales for fiscal years 2016 and 2017.

      6.   February 2018 deposits are 6.6X 2016 average monthly dealership sales, and 5.8X 2017 average monthly dealership
           sales.

      7.   July 2018 deposits are 12.8X 2016 average monthly dealership sales, and llX 2017 average monthly dealership sales.

      8.   Deposits from period of 2/18 to 7/18 are equal to 44% of Vista Bank's entire asset size in the Third Quarter of 2018.

      9.   Deposits during the 12 month period from 8/17 to 7/18 are equal to 58.6% of Vista Bank's entire asset size in the Third
           Quarter of 2018.




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                      Reagor Ol£kes Auto ComRanll, LP (RDAC)- Vista DOA Account# 2026693:
                   2016 & 2017 Year End Consolidated Annual Financials & Vista Bank Statements
                 DEPOSIT ACTIVITY & OVERDRAFTS IN 12 MONTH PERIOD PRECEDING PETITION DATE
     8/17 -1/18 Deposits & COB Overdraft Days                  2/18-7/18 Deposits & COB Overdraft Days
 Aug. 2017          $11,407,606.91        3Days        Feb. 2018               $37,163,874.90      9Days
 Sept. 2017         $15,993,670.27       13Days        March 2018              $59,781,402.39     lZDays
 Oct. 2017          $17,904,638.85        BDays        April 2018              $57,746,879.44      BDays
 Nov. 2017          $15,692,206.10        BDays        May 2018                $53,383,210.86     16 Days
 Dec. 2017          $16,306,759.68       10 Days       June 2018               $59,308,989.57     17Days
 Jan. 2018          $27,323,686.59       11 Days       July 2018               $70,578,003.98     17Days
      6 Mos. Tot. $103,944,580.76        53Days               6 Mos. Tot      $337,962,361.14     79Days



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                      12 Mos. Tot.            $441,906,941.90                            13ZDays


              ACTUAL BUSINESS OF DEALERSHIP DESCRIBED IN FINANCIAL STATEMENTS PROVIDED TO VISTA
                                                        t
                    2016 Consolidated Financial Satement (Sent by Shane Smith to Toby Cecil on 2/25/17}
  Gross Sales For Year          Avg. Monthly Sales             Avg. Daily Sales              2016 Dec. Sales               Dec. Inventory
      $73,278,938.00               $6,106,578.17                  $203,552.61                 $8,217,614.00                $11,747,610.00




             VISTA BANKS' ASSET SIZE PER QUARTERLY CALL REPORTS FILED WITH BANK REGULATORS
      Third Qtr. 2017     Fourth Qtr. 2017    First Qtr. 2018    Second Qtr. 2018   Third Qtr. 2018
      $580,686,000.00            $604,026,000.00              $685,963,000.00               $754,523,000.00              $777,449,000.00

Nine Quick Facts About Reagor Dykes Auto Company, LP (Plainview Ford Dealership):

      1.   Deposits during 6-month period from 8/17 to 1/18 are equal to 141% of entire gross dealership sales for 12-month
           period comprising fiscal year 2016.

      2.   August 2017 deposits are 1.86X average monthly dealership sales for 2016.

      3.   January 2018 deposits are 4.47X average monthly dealership sales for 2016.

      4.   Deposits during 6 month period from 8/17 to 1/18 are equal to more than 15% of Vista Bank's entire asset size in the
           First Quarter of 2018.

      5.   Deposits from period of 2/18 to 7/18 are nearly 4.17X annual dealership sales for 2017, and 2.18X the combined annual
           dealership sales for fiscal years 2016 and 2017.

      6.   February 2018 deposits are 6X 2016 average monthly dealership sales, and S.56X 2017 average monthly dealership
           sales.

      7.   July 2018 deposits are 11.SX 2016 average monthly dealership sales, and 10.SX 2017 average monthly dealership sales.

      8.   Deposits from period of 2/18 to 7/18 are equal to 43.4% of Vista Bank's entire asset size in the Third Quarter of 2018.

      9.   Deposits during the 12 month period from 8/17 to 7/18 are equal to 56.8% of Vista Bank's entire asset size in the Third
           Quarter of 2018.




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                                  EXHIBIT "C"
                   Analysis of Vista's "Off The Books" Overdraft Loans

                     C-1    Analysis of Lmitsu Vista Overdraft Loans
                      C-2    Analysis ofRDT Vista Overdraft Loans
                     C-3    Analysis ofRDAC Vista Overdraft Loans
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                                             EXHIBIT C-1
                                   Reagor Dykes Imports, LP (Lmitsu)
                                     Vista DOA Account #2058194:
        ANALYSIS OF VISTA OVERDRAFT LOANS FROM 7/31/16 THROUGH PETITION DATE
                       Note: Tables do not capture single day overdrafts.

                                  Lmitsu Vista Overdraft Loans- 7/31/2016 to 12/31/2016

                        Agg. No.            2 Day OD
      Agg. Date Range   OD Days               Range         Beginning OD         2 Day OD Bal         Ending OD Bal
        7/31-8/2           3                       -        ($328,603.33)                        -
               -                                                                                       ($50,358.76)
                              -             7/31-8/1         ($328,603.33)                                      -
               -                                                                    ($276,726.79)
                              -             8/1-8/2          ($276,726.79)                                      -
                                                                                     ($50,358.76)
         8/4-8/5              2                    -        ($139,070.80)                    -         ($17,854.87)
        8/12-8/16             3                    -        ($159,958.63)                    -
               -              -            8/12- 8/15        ($159,958.63)          ($212,214.42)
                                                                                                      ($212,719.84)
                                                                                                                       -
               -              -            8/15- 8/16        ($212,214.42)          ($212,719.84)                      -
       9/12-9/21             8                    -        ($225,890.96)                  -
               -              -                                                                      ($1,018,504.03)
                                          9/12-9/13          ($225,890.96)          ($349,964.50)               -
               -             -            9/13- 9/14        ($349,964.50)           ($442,515.54)              -
               -             -            9/14-9/15         ($442,515.54)           ($550,349.17)              -
               -             -            9/15- 9/16
               -
                                                            ($550,349.17)           ($134,373.58)              -
                             -            9/16-9/19         ($134,373.58)                                      -
               -                                                                    ($355,336.04)
                             -            9/19- 9/20        ($355,336.04)                                      -
               -                                                                    ($917,170.00)
                             -            9/20- 9/21        ($917,170.00)                                      -
                                                                                  ($1,018,504.03)
       10/6-10/7          2                    -           ($58,484.03)                  -           ($121,581.61)
      10/13-10/17
           -
                          3                    -           ($13,549.94)               -               ($40,975.38)
                          -              10/13- 10/14        ($13,549.94)                                   -
           -                                                                        ($45,007.95)
                          -              10/14-10/17         ($45,007.95)                                   -
                                                                                    ($40,975.38)
      10/28-11/1          3                   -            ($32,554.10)               -
           -              -                                                                          ($148,663.09)
                                         10/28-10/31          ($32,554.10)         ($225,621.29)           -
           -              -              10/31-11/1         ($225,621.29)          ($148,663.09)           -
     11/22-11/23         2                    -            ($71,882.40)              -               ($32,766.69}
     12/29- 12/31        3                    -            ($65,222.58)              -
           -             -              12/29- 12/30          ($65,222.58)         ($342,715.46)
                                                                                                     ($ 343,023.46)
                                                                                                           -
           -             -              12/30-12/31         ($342,715.46)          ($343,023.46)




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                                      Lmitsu Vista Overdraft Loans - ist Quarter 2017

                             Agg.
      Agg. Date Range      Number of        2 Day OD         Beginning OD          2 Day OD Bal            Ending OD Bal
                            OD Days           Range
         1/3-1/5               3                    -        ($116,038.58)                    -             ($9,676.57}
                  -             -            1/3-1/4           ($116,038.58)                                       -
                                                                                             ($826.36)
                  -             -            1/4- 1/5              ($826.36)                                       -
                                                                                           ($9,676.57)
        2/27-2/28               2                   -         ($31,315.30)                    -            ($21,040.75}
        3/10-3/10               7                  -         ($239,604.75)                    -           ($330,931.71)
              -                 -          3/10- 3/13          ($239,604.75)                                       -
                                                                                          ($10,148.26)
              -                 -          3/13- 3/14                                                              -
                                                                 ($10,148.26)             ($92,376.93)
              -                 -          3/14- 3/15            ($92,376.93)           ($354,434.81)              -
              -                 -          3/15- 3/16          ($354,434.81)            ($308,733.49)              -
              -                 -          3/16- 3/17          ($308,733.49)                                       -
                                                                                        ($184,103.99)
              -                 -          3/17- 3/20          ($184,103.99)                                       -
                                                                                        ($330,931.71)

        3/22-3/23               2                  -         {$90,717.25}                  -               ($89,062.54)
        3/17-3/31               5                  -        ($827,643.83)                 -               ($553,866.89)
              -                 -          3/27- 3/28         ($827,643.83)                                        -
                                                                                        ($583,526.71)
              -                 -          3/28- 3/29         ($583,526.71)               ($73,073.81)             -
              -                 -          3/29- 3/30          ($73,073.81)               ($64,950.21)             -
              -                 -          3/30- 3/31          ($64,950.21)                                        -
                                                                                        ($553,866.89)



                                    Lmitsu Vista Overdraft Loans - 2nd Quarter 2017

                        Agg. Number     2 Day OD Range
    Agg. Date Range      of OD Days                           Beginning OD         2 Day OD Bal          Ending OD Bal
       4/1-4/3                2                    -          ($562,404.89)                   -           ($85,351.91)
      4/20-4/21             2                      -          ($76,265.27)                    -           ($71,619.61)
      4/15-4/26             2                   -             ($68,446.06)                    -          ($102,003.56)
      4/28-4/30             2                   -              ($7,390.47}                 -              ($7,702.22)
     5/16-5/17              2                   -            ($104,890.90)                 -             ($112,180.00)
     5/19-5/22              2                  -              ($38,801.13 I                -              ($71,267.88)
       6/8-6/9              2                  -              ($78,785.42}                -                ($573.96)
     6/14-6/19              4                  -              ($36,893.20}                -              ($87,300.40)
          -                 -             6/14- 6/15              ($36,893.20)                                 -
                                                                                      ($159,523.62)
          -                 -             6/15- 6/16            ($159,523.62)         ($206,091.21)            -
          -                 -             6/16- 6/19           ($206,091.21)                                   -
                                                                                       ($87,300.40)
     6/1 1-6/29             7                  -             ($182,152.89)                -
          -                                                                                              ($205,930.44}
                            -             6/21- 6/22           ($182,152.89)          ($200,221.53)            -
          -                 -             6/22- 6/23           ($200,221.53)                                   -
                                                                                      ($107,037.55)


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           -               -              6/23- 6/26           ($107,037.55)            ($17,109.76)             -
           -               -              6/26- 6/27             ($17,109.76)         ($136,477.44)              -
           -               -              6/27- 6/28           ($136,477.44)          ($162,722.69)              -
           -               -              6/28- 6/29           ($162,722.69)          ($205,930.44)              -



                                   lmitsu Vista Overdraft loans - 3rd Quarter 2017

                       Agg. No. OD        2Day OD
     Agg.Date Range      Days              Range          Beginning OD          2Day OD Bal             Ending OD Bal
       7/20- 7/24           2                    -        ($157,475.14)                  -               ($57,563.92)

       8/17-8/18           2                     -         ($81,976.62)                  -              ($230,893.21)

        9/5-9/6            2                     -         ($9,709.39)                   -              ($68,457.70)

       9/11-9/13           2                     -        {$183,712.01)                 -               ($69,709.67)

       9/18-9/11           4                     -         {$62,776.66)                 -               ($40,651.30)
           -               -             9/18- 9/19           ($62,776.66)            ($361,423.26)              -
           -               -             9/19- 9/20         ($361,423.26)               ($26,270.23)             -
           -               -             9/20- 9/21          ($26,270.231               ($40,651.30)             -

      9/16-9/17            2                     -        ($337,688.80)                 -               ($20,602.25)

      9/19-9/30            2                     -        ($115,890.75)                 -              ($116,192.76)




                                   Lmitsu Vista Overdraft Loans- 4th Quarter 2017

                        Agg. No.         2Day OD
     Agg. Date Range    ODDays            Range          Beginning OD           2Day OD Bal            Ending OD Bal
       10/1-10/3           3                 -           ($117,177.66)                            -     ($57,097.16)
            -               -           10/1- 10/2         ($117,177.66)              ($79,713.63)           -
            -               -           10/2-10/3           ($79,713.63)              ($57,097.16)           -

      11/15-11/17           3                -            {$40,524.14)                            -    {$38,530.85)
           -                -          11/15- 11/16         ($40,524.14)              ($88,903.87)           -
           -                -          11/16- 11/17         ($88,903.87)              ($38,530.85)           -
       11/5-11/6           2                 -           {$378,958.41)                            -    ($185,895.60)

      11/14-11/18          3                 -           {$133,477.15)                            -    ($399,659.30)
           -                -         12/14- 12/15         {$133,477.15)               ($93,635.74)          -
           -                -         12/15- 12/18          ($93,635.74)             ($399,659.30)           -




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                                           Limitsu Vista OD Loans- pt Quarter 2018

                         Agg. No.             2 Day OD
      Agg. Date Range    OD Days               Range              Beginning OD       2 Day OD Bal         Ending OD Bal
        1/11-1/11           2                              -      ($247,094.28)                     -     ($191,811.69)
        1/18-1/23                     4                    .
                                                                  ($924,958.53)                     -
                  -                   -                                                                   ($151,423.17)
                                             1/18-1/19             {$924,958.53)                                -
                  -                   -      1/19-1/22             {$171,799.54)
                                                                                        ($171,799.54)
                                                                                          ($1,493.94)           -
                  -                   .      1/22- 1/23              ($1,493.94)        {$151,423.77)           -
        l/26-1/31                 4                        -      ($276,352.95)                     .
              -                       .                                                                   ($286,874.28)
                                             1/26-1/29             {$276,352.95)        {$847,568.45)                     -
              -                       -      1/29-1/30
              -                                                    ($847,568.45)        ($122,690.24)                     -
                                  .          1/30-1/31             ($122,690.24)        ($286,874.28)                     -
        1/1-2/6                   3                    -         {$177,998.00)                  -
              -                   -           2/2- 2/5
                                                                                                         ($1,372,688.18)
              -                                                    ($177,998.00)         ($86,790.40)                 -
                                  -           2/5- 2/6              ($86,790.40)      ($1,372,688.18)                 .

       1/23-2/26                  2                    -          ($73,742.73)                  -         ($19,476.37)
        3/2-3/5                   2                    -          ($77,902.08)                  -         ($19,851.53)
        3/7-3/9                   3                    -         ($367,113.34)                  -
              -                   -                                                                        ($438.45)
                                             3/7- 3/8             ($367,113.34)        ($164,309.76)                  .
              -                   -          3/8-3/9              ($164,309.76)            ($438.45)                  -



                                          Lmitsu Vista OD Loans- 2nd Quarter 2018

                        Agg. No.           2 Day OD
    Agg. Date Range     OD Days              Range             Beginning OD         2 Day OD Bal         Ending OD Bal
       4/3-4/4             2                       -                                        -
                                                               ($131,154. 17)                             ($75,078.49)
       4/6-4/9                2                   -             ($40,044.23)                -            ($88,530.41)
      4/16-4/13               6                   -            {$220,285.14)                -
          -                -                                                                              ($4,521.59)
                                          4/16- 4/17             ($220,285.14)        ($208,672.68)               .
          -                -              4/17-4/18              ($208,672.68)
          -                   -           4/18- 4/19             ($254,170.24)
                                                                                      ($254,170.24)
                                                                                      ($136,981.4 6)
                                                                                                                  .
                                                                                                                  -
          -                -              4/19-4/20              ($136,981.46)        ($344,091.05)               .

          -               -               4/20- 4/23             ($344,091.05)          ($4,521.59)               .

      4/25-4/27           3                    -               ($255,252.65)            -
          -               -               4/25-4/26
                                                                                                        ($180,717.83)
                                                                 ($255,252.65)        ($237,675.88)
          -               -               4/26- 4/27
                                                                                                              -
                                                                 ($237,675.88)        ($180,717.83)           -
      5/7-5/8             2                   -                ($88,338.51)             -               ($68,063.69)
     5/10-5/29           13                   -                ($60,572.82)             .
          -               -                                                                             ($849,794.85)
                                          5/10- 5/11              ($60,572.82)        ($32,392.98)
          -               -               5/11- 5/14
                                                                                                              .
                                                                  ($32,392.98)        ($56,562.82)            -


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                  -            -        5/14- 5/15
                  -
                                                             ($56,562.82)         ($181,876.01)                   -
                               -        5/15- 5/16
                  -                                        ($181,876.01)          ($130,816.00)                   -
                               -        5/16- 5/17
                 -
                                                           ($130,816.00)          ($171,538.02)                   -
                               -        5/17- 5/18         ($171,538.02)          ($382,253.81)                   -
                 -            -         5/18- 5/21
                 -
                                                          {$382,253.81)           {$240,940.71)                   -
                              -         5/21- 5/22
                 -
                                                          ($240,940.71)          {$422,969.13)                    -
                              -         5/22- 5/23        {$422,969.13)          {$278,200.55)                    -
                 -            -         5/23- 5/24        ($278,200.55)          ($208,538.78)                    -
                 -            -         5/24- 5/25
                 -                                        ($208,538.78)          ($440,805.62)                    -
                              -         5/25-5/29         ($440,805.62)          ($849,794.85)                    -
         5/31-6/1             2                 -
                                                       {$120,105.60)                  -              {$21,429.03)
         6/5-6/7              3                 -      {$484,536.02)                  -
                -             -                                                                     ($316,132.35)
                                         6/5- 6/6         ($484,536.02)                                       -
                -             -          6/6-6/7
                                                                                 ($397,870.84)
                                                          ($397,870.84)          ($316,132.35)                -
        6/12-6/14             3                -       ($121,331.49)                  -
               -              -                                                                      ($38,827.59)
                                       6/12- 6/13         ($121,331.49)           ($61,071.83)                -
               -              -        6/13- 6/14          ($61,071.83)           ($38,827.59)                -
       6/20-6/30          9                    -      ($244,161.59)                   -
             -            -                                                                        ($1,062,033.79)
                                       6/20- 6/21        ($244,161.59)           ($490,906.97)                -
             -            -            6/21- 6/22
            -
                                                         ($490,906.97)           ($732,525.43)               -
                          -            6/22- 6/25
            -
                                                         ($732,525.43)         ($1,567,227.99)               -
                          -            6/25- 6/26
            -
                                                       ($1,567,227.99)           ($679,765.45)               -
                          -            6/26- 6/27        ($679,765.45)        ($1,731,387.5 4)               -
            -             -            6/27- 6/28      ($1,731,387.54)        ($1,543,642.31)                -
            -             -            6/28- 6/29
            -
                                                       ($1,543,642.31)        {$1,061,609.29)                -
                          -            6/29- 6/30      ($1,061,609.29)        ($1,062,033.79)                -



                         ROI VistaOverdraft Persisting 2+ Consecutive Days- July 2018

                       Agg. No.         2 DayOD
     Agg. Date Range   OD Days            Range       BeginningOD           20ayODBal              EndingODBal
        7/1-7/3           3                 -        ($1,077,544.79)              -
            -             -                                                                         ($10,562.19)
                                        7/1- 7/2      ($1,077,544.79)          ($508,565.70)             -
            -             -             7/2- 7/3        {$508,565.70)            ($10,562.19)            -

       7/9-7/10           2                -          ($301,385.14)                         -     ($1,077,497.36)
       7/12-7/16          3                -          ($611,018.26)                         -
           -              -            7/12-7/13
                                                                                                  ($444,153.29)
           -                                            ($611,018.26)          ($604,875.52)            -
                          -            7/13- 7/16       ($604,875.52)          ($444,153.29)            -
       7/27- 7/30         2        -                 ($192,426.22)                -               ($834,496.57)




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                                           EXHIBIT C-2
                              Reagor Dykes Auto Company, LP (RDAC)
                                          Vista DDA Account # 2026693:
                    ANALYSIS OF VISTA OVERDRAFT LOANS FROM 7/31/16 THROUGH PETITION DATE
                                  Note: Table does not capture single day overdrafts.

                                        2016 RDAC VistaOverdraft Loans - 7/31/16 to 12/31/16

      Agg.Date Range       Agg. Number of       2Day OD         Beginning OD            2 Day OD Bal            EndingOD Bal
                             ODDays              Range
         7/31-8/4                5                      -       ($186,575.91)                       -           {$78,189.92)
                -                   -            7/31-8/1          ($186,575.91)           ($217,334.32)                 -
                -                   -            8/1-8/2           ($217,334.32)           ($214,617.78)                 -
                -                   -            8/2-8/3           ($214,617.78)           ($164,394.07)                 -
                -                   -            8/3-8/4           {$164,394.07)            ($78,189.92)                 -

         8/19-8/23                  3                  -        ($63,880.66)                    -               {$56,432.93)
                -                   -           8/19-8/22           {$63,880.66)          ($258,989.59)               -
                -                   -           8/22-8/23          ($258,989.59)           ($56,432.93)               -

        9/20-9/21                   2                  -        ($181,263.81)                   -              ($198,551.30)

       10/27-10/31                  3                  -        ($25,141.42)                    .              ($156,686.51)
                -                   -         10/27-10/28           ($25,141.42)            ($71,588.99)             -
                -                   -         10/28-10/31           ($71,588.99)          ($156,686.51)              -

       11/14-11/16              3                   .           ($23,553.28)                    .               ($12,863.66)
                -                   -         11/14-11/15           ($23,553.28)           ($36,230.74)              .
                .                   -         11/15-11/16           ($36,230.74)           ($12,863.66)              .


       12/19 -12/21             3                   -          ($102,440.49)                 .                 ($148,676.41)
            -                       .         12/19-12/20         ($102,440.49)           ($240,017.47)              .
  -                             -             12/20-12/21         ($240,017.47)           ($148,676.41)              -



                                           RDAC VistaOverdraft Loans-1st Quarter 2017

      Agg.Date Range      Agg. Number of        2DayOD         Beginning OD            2Day00 Bal              EndingOD Bal
                            ODDays               Range
        1/11-1/12                2                 -           ($137,713.67)       .                            ($2,904.21)
        1/18-1/19               2                  -            ($56,740.41)       .                           ($64,123.35)

       3/17-3/20                2                  -           ($80,847.26)        -                           ($190,044.87)

       3/22-3/28                5                  -           ($115,849.51)                .                  ($347,398.08)
            .                   -              3/22-3/23          ($115,849.51)          ($325,498.04)     -
            .                   -              3/23- 3/24         ($325,498.04)          ($469,973.03)     -
            .                   .             3/24- 3/27          ($469,973.03)                            -
                                                                                         ($669,377.82)
            .                   -             3/27- 3/28          ($669,377.82)          {$347,398.08)     -


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       3/30-3/31                       2                              ($75,501.99)                                  ($126,615.25)



                                            RDAC VistaOverdraft Loans -2nd Quarter 2017

    Agg. Date Range    Agg. Number of            2 DayOD             Beginning OD            2 Day OD Bal          Ending OD Bal
                         OD Days                   Range
        4/3-4/7              5                                -      ($112,784.09)                          -
                 -                 -                                                                                ($69,738.86)
                                                 4/3- 4/4               ($112,784.09)           ($277,667.57)                  -
                 -                 -             4/4-4/5
                 -                 -
                                                                        ($277,667.57)           ($184,280.77)                  -
                                                 4/5- 4/6                                                                      -
                 -                 -             4/6- 4/7
                                                                        ($184,280.77)           ($231,220.93)
                                                                        ($231,220.93)            ($69,738.86)                  -
       4/20-4/21                   2                      -         ($124,256.80)                       -          ($91,372.48)
      5/18-5/23                    4                      -         ($368,298.53)                       -
                 -                 -            5/18-5/19
                                                                                                                   ($128,697.90)
                 -                                                     ($368,298.53)              ($71,890.37)                 -
                                   -            5/19-5/22
                 -                 -
                                                                         ($71,890.37)           ($407,428.97)                  -
                                                5/22-5/23              ($407,428.97)            ($128,697.90)                  -

      6/13-6/14                    2                      -         ($80,377.77)                        -         ($135,806.18)
      6/22/-6/30                   7                      -         ($221,115.14)                       -
             -                     -           6/22-6/23
                                                                                                                   ($22,986.43)
             -                                                          ($221,115.14)          ($524,555.63)               -
                                   -           6/23-6/26
             -                     -
                                                                       ($524,555.63)           ($311,053.79)               -
                                               6/26-6/27               ($311,053.79)           ($126,294.40)               -
             -                     -           6/27-6/28
             -                 -
                                                                       ($126,294.40)           {$248,822.59)               -
                                               6/28-6/29               {$248,822.59)           ($136,469.86)               -
             -                 -               6/29-6/30               {$136,469.86)            {$22,986.43)               -


                                           RDAC VistaOverdraft Loans - 3 rd Quarter 2017
   Agg. Date Range    Agg. Number of           2 DayOD             BeginningOD              2 DayOD Bal          EndingOD Bal
                        OD Days                  Range
      7/3-7/6               3                         -            ($94,412.13)                     -             ($35,931.71)
             -                 -               7/3- 7/5
             -                 -
                                                                        ($94,412.13)          ($354,711.17)                -
                                               7/5-7/6                ($354,711.17)            ($35,931.71)                        -
     7/12-7/13              2                         -           ($181,044.17)                     -             ($74,037.21)

     9/14-9/19             4                       -              ($128,983.45)                 -
         -                 -                  9/14-9/15
                                                                                                                 ($141,246.04)
         -                 -
                                                                     ($128,983.45)              ($79,850.19)           -
                                              9/15-9/18                ($79,850.19)           ($309,889.25)            -
         -                 -                  9/18-9/19              ($309,889.25)            ($141,246.04)            -
    9/21-9/26
         -
                           4                      -               ($525,964.33)         -                        ($165,404.62)
                           -                  9/21-9/22
         -                 -
                                                                     {$525,964.33)           ($705,105.52)             -
                                              9/22-9/25              ($705,105.52)             ($29,054.88)            -
         -                 -                  9/25-9/26               ($29,054.88)           ($165,404.62)
    9/28-9/30              3                      -               ($138,055.74)                 -                ($44,497.70)


                                                                                                                      C2- 2 of 5
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                                           9/28-9/29           ($138,055.74)             ($44,286.20)
                                           9/29-9/30            ($44,286.20)             ($44,497.70)



                                        RDAC VistaOverdraft Loans- 4th Quarter 2017

   Agg. Date Range    Agg. Number of       2 DayOD         BeginningOD               2DayODBal              Ending ODBal
                        OD Days              Range
      10/1- 10/2             2                    -         ($62,961.70)                               -     ($128,689.49)

     10/16-10/18                3                 .        ($150,734.83}                               -     ($24,570.38)
              -                 -         10/16-10/17         ($150,734.83)            ($109,477.06)                  -
              -                 -         10/17-10/18         ($109,477.06)             ($24,570.38)                  -

     10/30 -10/31              2                  .         ($16,990.68)                               -     ($37,816.90)

     11/13-11/16               4                  -        ($140,002.26)                               -     ($76,668.69}
             -                  -        11/13-11/14          ($140,002.26)             ($81,028.59)                  .
             .                  .        11/14-11/15            ($81,028.59)            ($33,494.17)                  .
             .                  .        11/15-11/16            ($33,494.17)            ($76,668.69)                  .


    11/20 -11/21            2                     .        ($154,478.69)                               .    ($139,879.77)

    12/11-12/21             9                     .        ($17,736.14)                                .    ($355,919.33)
             .              .            12/11-12/12            ($17,736.14}             ($57,502.75)                 .
             .              .            12/12-12/13            ($57,502.75)           ($204,135.86)                  -
             -              .            12/13-12/14          ($204,135.86)            ($261,568.30)                  .
             .              .            12/14-12/15          ($261,568.30)            ($213,670.55)                  .
             .              .            12/15-12/18         ($213,670.55)             ($645,298.90)              .
             .              .            12/18-12/19         ($645,298.90)             ($197,712.40)              .
          -                 .            12/19-12/20         ($197,712.40)               ($54,761.07)             .
          .                 .            12/20-12/21           ($54,761.07)            ($355,919.33)              .




                                       RDAC VistaOverdraft Loans- 1st Quarter 2018

   Agg. Date Range   Agg. Number of       2 DayOD          BeginningOD           2 DayOD Bal                EndingOD Bal
                     OD Days                Range
      1/2-1/4               3                 .            ($122,615.16)                 .                   ($6,510.87)
          .                 -             1/2-1/3             ($122,615.16)             ($90,162.05)              .
          .                 .             1/3-1/4              ($90,162.05)              ($6,510.87)              .


     1/18- 1/23            4                  .           ($635,670.36)                            .        ($823,509.35)
         .                  .             1/18-1/19           ($635,670.36)          ($1,399,235.59)              .
         .                  .             1/19-1/22         ($1,399,235.59)          ($1,002,267.16)              .
         -                  .             1/22- 1/23       ($1,002,267.16)             ($823,509.35)              .


     1/26 -1/29            2                  .           ($162,493.18)                            .       ($1,134,382.07)

     1/31- 2/2             3                  .           ($285,513.29)                            .       ($550,531.59)
         .                 .              1/31- 2/1          ($285,513.29)                                        .
                                                                                      ($865,570.38)
         .                 .              2/1· 2/2           ($865,570.38)            ($550,531.59)               .


     2/9 -2/14             4                  .           ($511,271.11)                            .       ($189,138.09)


                                                                                                                 C2- 3 of 5
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                 -                -        2/9- 2/12              ($511,271.11)         ($487,448.19)                               -
                 -                -       2/12- 2/13              ($487,448.19)         ($182,640.97)                               -
                 -                -       2/13- 2/14              ($182,640.97)         ($189,138.09)                               -
      1/13-1/16                   2                     -     {$142,972.29)                                   -     {$339,430.11)
     3/12-3/16                    5                     -      {$11,846.35)                                   -     ($206,957.73)
                 -                -       3/12-3/13                 ($11,846.35)       ($148,646.72)                                -
                 -                -       3/13- 3/14
                 -
                                                                  ($148,646.72)        ($261,889.67)                                -
                                  -       3/14- 3/15             ($261,889.67}                                                      -
                 -                                                                     ($197,930.38)
                                  -       3/15- 3/16             ($197,930.38)                                                      -
                                                                                       ($206,957.73)
     3/18-3/31                   4                      -      ($13,636.12)                               -
                -                -                                                                                  ($48,113.34)
                                          3/28-3/29                ($13,636.12)         ($94,089.89)                            -
                -                -        3/29- 3/30
                -
                                                                   ($94,089.89)         ($47,650.84)                            -
                                 -        3/30- 3/31              ($47,650.84)                                                  -
                                                                                        ($48,113.34)



                                      RDAC Vista Overdraft Loans- 2nd Quarter 2018

   Agg. Date Range   Agg. Number of       2 Day OD           Beginning OD          2 Day OD Bal                    Ending OD Bal
                        OD Days            Range
     4/16-4/17              2                       -         ($63,267.00)                                -        ($140,860.87)
     4/10-4/14                3                     -         ($12,620.89)                                -
             -                                                                                                     ($240,970.37)
                              -          4/20- 4/23                ($12,620.89)                                                 -
             -                                                                        ($419,040.96)
                              -          4/23- 4/24              ($419,040.96)                                                  -
                                                                                      ($240,970.37)
     4/16-4/17                2                  -           ($57,753.77)                             -            ($145,771.23)
     5/1-5/1                 2                   -           ($728,719.95)                            -            ($118,162.85)
     5/9-5/15
            -
                             5                   -           ($46,668.63)                             -            ($277,956.52)
                             -           5/9- 5/10
            -
                                                                 ($46,668.63)         ($324,886.09)                         -
                             -          5/10- 5/11             ($324,886.09)                                                -
            -                                                                         ($319,516.12)
                             -          5/11- 5/14             ($319,516.12)                                                -
            -                                                                         ($167,145.20)
                             -          5/14- 5/15             ($167,145.20)          ($277,956.52)                         -
    5/17-5/14             6                     -           {$132,264.74)                             -
         -                -                                                                                       ($118,850.94)
                                        5/17- 5/18             ($132,264.74)         ($212,489.16)                          -
         -                -             5/18- 5/21
         -
                                                               ($212,489.16)         ($384,581.32)                          -
                          -             5/21- 5/22
         -
                                                               ($384,581.32)         ($111,134.49)                          -
                          -             5/22- 5/23             ($111,134.49)           ($27,883.17)                         -
         -                -             5/23- 5/24               ($27,883.17)        ($118,850 94)                      -

    5/19-5/31             3                  -              ($26,295.07)                          -
        -                 -                                                                                        ($10,747.32)
                                        5/29- 5/30              ($26,295.07)         ($368,860.40)                      -
        -                 -             5/30- 5/31            ($368,860.40)            ($10,747.32)                     -
     6/4- 6/5            2                  -               ($40,034.37)                          -               ($128,296.20)
    6/7-6/15             7                  -               ($191,432.81)                         -
        -                -                                                                                        ($582,269.03)
                                         6/7- 6/8              ($191,432.81)           ($20,651.36)                     -
        -                -              6/8- 6/11
        -
                                                                 ($20,651.36)        ($507,845.71)                      -
                         -             6/11- 6/12              ($507,845.71)         ($120,844.80)                      -


                                                                                                                       C2- 4 of 5
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                 -                -     6/12- 6/13          ($120,844.80}           ($160,305.11}                        -
                 -                -     6/13- 6/14
                 -
                                                            ($160,305.11}           ($510,344.59)                        -
                                  -     6/14- 6/15          ($510,344.59}           ($582,269.03)                        -
      6/19-6/28               8                   -     ($638,194.26}                                  -
                 -            -        6/19- 6/20
                                                                                                             ($54,342.53}
                                                            ($638,194.26)          ($731,498.45)                     -
                 -            -        6/20- 6/21
                 -                                          ($731,498.45}          ($651,146.46)                     -
                              -        6/21- 6/22
                 -            -
                                                           ($651,146.46)           ($569,462.38)                     -
                                       6/22- 6/25          ($569,462.38}         ($1,308,162.65)                     -
             -                -        6/25- 6/26
             -                                           ($1,308,162.65)           ($465,055.76)                     -
                              -        6/26- 6/27
             -                                             ($465,055.76)         ($1,178,679.28)                     -
                              -        6/27- 6/28        ($1,178,679.28}            ($54,342.53)                     -


                                       RDAC Vista Overdraft Loans- July 2018
   Agg. Date Range   Agg. Number of    2 Day OD         Beginning OD            2 Day OD Bal                Ending OD Bal
                        OD Days          Range
      7/2- 7/5             3                  -        ($428,813.34)        -
             -                -                                                                             ($349,222.21)
                                        7/2- 7/3          ($428,813.34)           ($599,826.53)                      -
             -                -         7/3- 7/5          ($599,826.53)           ($349,222.21}                      -
     7/9- 7/17             7                  -         ($35,293.59)                               -
         -                -                                                                                ($378,501.06}
                                       7/9- 7/10             ($35,293.59)       ($1,043,073.03)                  -
         -                -           7/10-7/11
         -
                                                         ($1,043,073.03)          ($294,176.61}                  -
                          -           7/11- 7/12           ($294,176.61)
         -                                                                        ($888,808.73)                  -
                          -           7/12- 7/13
         -                                                 ($888,808.73}          ($548,843.94}                  -
                          -           7/13- 7/16
         -                                                 ($548,843.94)          ($867,302.41)                  -
                          -           7/16- 7/17           ($867,302.41}          ($378,501.06}                  -

    7/19-7/24             4               -            {$584,218.26)                           -
         -                -           7/19-7/20
                                                                                                           {$151,978.74)
         -                                                ($584,218.26)           ($912,509.25)                  -
                          -           7/20- 7/23
         -                -
                                                          ($912,509.25}           ($409,640.41)                  -
                                      7/23- 7/24          ($409,640.41)           ($151,978.74)                  -
    7/30- 7/31            2               -            ($71,226.34}                            -           ($106,203.93}




                                                                                                               C2- S of S
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                                                        EXHIBIT C-3
                                     Reagor Dykes Plainview, LP (RDT)
                                       Vista ODA Account # 7012788
        ANALYSIS OF VISTA OVERDRAFT LOANS FROM 7/31/16 THROUGH PETITION DATE
                       Note: Tables do not capture single day overdrafts.

                                    ROT Vista Overdrafts Loans 2016- 7/31/16 to 12/31/16

                          Agg. No.
     Agg. Date Range      OD Days         2 Day OD Range      Beginning OD            2 Day OD Bal           Ending OD Bal
        7/31-8/1             2                      -         ($357,829.95)                              -   ($353,051.11)

       9/12-9/13                2                   -         ($152,724.99)                              -   ($392,450.33)

       9/16-9/22                5                   -         ($41,786.71)                               -    ($39,233.82)
              -                 -           9/16- 9/19           ($41,786.71)                                          -
                                                                                        ($140,223.27)
              -                 -           9/19- 9/20         ($140,223.27)            ($459,428.03)                  -
              -                 -           9/20- 9/21         ($459,428.03)                                          -
                                                                                         ($56,036.97)
              -                 -           9/21- 9/22          ($56,036.97)                                          -
                                                                                         ($39,233.82)

      10/13-10/14               2                -            ($86,540.09)                               -    ($16,286.60)

      12/19-12/20               2                -            ($53,803.57)                             -     ($287,176.04)




                                       ROT Vista Overdraft Loans - 1st Quarter 2017

                       Agg. No. OD
   Agg. Date Range        Days           2 Day OD Range      Beginning OD         2 Day OD Bal               Ending OD Bal
     3/16-3/20              3                    -           ($161,562.59)                 -                 ($142,649.99)
          -                 -               3/16-3/17         ($161,562.59)            ($152,467.67)               .
         .                  .               3/17- 3/20        ($152,467.67)            ($142,649.99)               .

     3/22-3/28             5                     -           ($71,438.27)                            -       ($74,889.23)
         -                 .                3/22- 3/23          ($71,438.27)           ($225,361.22)              .
         -                 -                3/23- 3/24        ($225,361.22)                                       -
                                                                                       ($361,124.35)
         -                 -                3/24- 3/27        ($361,124.35)            ($560,202.67)              .
         .                 -                3/27- 3/28        ($560,202.67)             ($74,889.23)

     3/30-3/31             2                    .           ($171,214.42)                 .                  ($14,949.78)




                                                                                                                  C3-1 of 4
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                                    ROT VistaOverdraft loans- 2nd Quarter 2017

                       Agg. No.OD          2Day00
    Agg.Date Range       Days               Range         BeginningOD              2Day ODBal            EndingODBal
       4/3-4/4              2                   -         ($214,215.83)                              -    ($60,674.62)

      4/10-4/14               5                 -         ($134,811.42)                              -    ($59,919.70)
           -                  -            4/10-4/11        ($134,811.42)              ($92,339.75)                -
           -                  -            4/11-4/12          ($92,339.75)             ($81,748.21)                -
           -                  -            4/12- 4/13         ($81,748.21)           ($157,900.04)                 -
           -                  -            4/13-4/14        ($157,900.04)              ($59,919.70)                -

      4/25-4/26               2                 -         ($142,742.78)                           -      ($111,600.88)

       5/3-5/4                2                 -         ($130,963.48)                           -      ($420,235.51)

      5/17-5/18               2                 -          ($23,782.90)                           -       ($15,732.18)

       6/7-6/8                2                 -         ($127,373.46)                           -       ($42,341.02)

      6/16-6/19               2                 -         ($37,268.13)                            -      ($190,364.14)

      6/21-6/23               3                 -         ($17,883.59)                            -       ($50,128.29)
          -                   -           6/21-6/22          ($17,883.59)            ($174,803.02)             -
          -                   -           6/22-6/23        ($174,803.02)              ($50,128.29)             -

      6/28-6/29            2                    -         ($250,333.61)                -                 ($326,760.06)



                                    ROT Vista Overdraft loans - 3rd Quarter 2017

                       Agg. No.OD         2DayOD
    Agg.Date Range       Days              Range        BeginningOD               2DayODBal              EndingODBal
      8/10-8/11               2       -                  ($1,344.15)                   -                 ($113,543.08)

      9/18-9/19               2       -                  ($92,062.48)                  -                 ($270,635.73)

      9/21-9/22               2       -                 ($620,609.99)                  -                 ($69,597.43)



                                    ROT Vista Overdraft loans- 4th Quarter 2017

                       Agg. No.
    Agg.Date Range     ODDays       2DayOD Range         BeginningOD               2DayODBal             EndingODBal
      11/9-11/14          4                 -            ($229,318.45)                 -                  ($69,375.57)
           -              -           11/9-11/10            ($229,318.45)              ($77,785.28)            -
           -              -          11/10- 11/13             ($77,785.28)           ($109,009.68)             -
           -              -          11/13-11/14            ($109,009.68)             ($69,375.57)             -
   12/13/17-12/20/17      6                 -            ($238,481.33)                            -      ($104,424.92)
           -              -          12/13-12/14            ($238,481.33)            ($152,104.52)             -
           -              -          12/14-12/15            ($152,104.52)            ($439,945.45)             .
           -              -          12/15-12/18            ($439,945.45)          {$1,139,958.77)             .
           -              -          12/18-12/19          ($1,139,958.77)            ($805,995.17)             -

                                                                                                              C3- 2 of 4
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                                       12/19-12/20           ($805,995.17) 1          ($104,424.92) 1



                                     ROT Vista Overdraft Loans- 1st Quarter 2018

                      Agg. No. OD        2 Day OD
    Agg. Date Range     Days               Range         Beginning OD              2 Day OD Bal            Ending OD Bal
      1/18-1/23           4                        -    ($1,362,839.50)                               -
           -                                                                                               ($943,945.70)
                             -          1/18-1/19         ($1,362,839.50)             ($737,394.83)                 -
           -                 -          1/19-1/22           ($737,394.83)                                           -
                                                                                    ($1,873,915.52)
           -                 -          1/22- 1/23        ($1,873,915.52}             ($943,945.70)
      1/25-1/29           3                        -     ($102,571.42)                                -   ($1,049,785.88)
           -              -             1/25-1/26           ($102,571.42)                                           -
                                                                                      ($775,047.97)
           -              -             1/26/ 1/29          ($775,047.97)                                           -
                                                                                    ($1,049,785.88)

      1/31-2/1            2                     -        ($149,808.87)                     -               ($191,324.36)
       2/5-2/6            2                    -         ($287,116.84)                     -              ($1,150,956.62)
      2/16-2/20           2                    -         ($237,748.75)                     -              ($212,403.11)
      2/26-2/27           2                    -         ($106,717.55)                     -              ($151,393.53)
       3/1- 3/2           2                    -         ($47,157.55)                      -              ($155,135.83)
      3/9-3/12            2                    -         ($96,725.90)                      -              ($372,599.16)
     3/15-3/16            2                    -          ($4,044.19)                      -               ($21,975.51)
     3/20-3/21           2                     -        ($230,126.76)                  -                  ($383,626.97)

     3/28-3/29           2                  -           ($109,549.08)                  -                   ($96,560.01)



                                    ROT Vista Overdraft Loans- 2nd Quarter 2018

                       Agg.No.         2Day00
    Agg.Date Range     OD Days          Range           Beginning OD           2Day OD Bal                Ending OD Bal
       4/6-4/9            2                -            ($352,433.07)                  -                   ($32,434.17)
      4/11-4/16           4                -            ($104,665.85)                  -                  ($241,997.76)
          -               -            4/11-4/12           ($104,665.85)                                        -
                                                                                    ($421,513.06)
          -               -            4/12-4/13           ($421,513.06)                                        -
                                                                                    ($296,523.01)
          -               -            4/13-4/16           ($296,523.01)                                        -
                                                                                    ($241,997.76)

      4/19-4/27           7                -            ($260,243.07)                             -
          -                                                                                               ($13,807.49)
                          -           4/19- 4/20           ($260,243.07)            ($100,245.22}              -
          -               -           4/20-4/23            ($100,245.22)                                       -
                                                                                    ($217,882.17)
          -               -           4/23-4/24            ($217,882.17)                                       -
                                                                                      ($84,559.35)
          -               -           4/24-4/25             ($84,559.35)                                       -
                                                                                    ($110,912.33)
          -               -           4/25-4/26           ($110,912.33)                                        -
                                                                                     ($67,762.77}
          -               -           4/26-4/27             ($67,762.77)                                       -
                                                                                     ($13,807.49}



                                                                                                               C3- 3 of 4
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             5/1-5/8                   6                   -       ($664,631.05)                                 -
                     -                 -      5/1-5/2
                                                                                                                         ($33,368.31)
                     -                                                {$664,631.05)         {$105,967.66)                            -
                                       -      5/2- 5/3
                     -                 -
                                                                      ($105,967.66)         ($141,529.19)                            -
                                              5/3- 5/4                {$141,529.19)           ($87,546.92)                           -
                     -                 -      5/4- 5/7
                     -                                                 ($87,546.92)         ($141,393.23)                            -
                                       -      5/7- 5/8               {$141,393.23)           ($33,368.31)                            -
           5/16-5/30                  10                   -      ($256,920.26)                                  -
                     -                -     5/16- 5/17               {$256,920.26)
                                                                                                                        ($492,062.80)
                                                                                                                                     -
                     -                                                                      ($255,104.17)
                                       -    5/17- 5/18
                     -                                               {$255,104.17)            ($51,558.08)                          -
                                       -    5/18- 5/21
                    -                                                  ($51,558.08)         {$112,603.90)                           -
                                      -     5/21- 5/22
                    -                                                {$112,603.90)          ($292,998.95)                           -
                                      -     5/22- 5/23
                    -                                               {$292,998.95)           ($349,862.97)                           -
                                      -     5/23- 5/24
                    -                                               {$349,862.97)          ($172,921.04)                            -
                                      -     5/24- 5/25
                    -                                               {$172,921.04)          {$272,664.10)                            -
                                      -     5/25- 5/29              ($272,664.10)
                    -                                                                      ($483,119.06)                         -
                                      -     5/29- 5/30              ($483,119.06)          ($492,062.80)                         -

            6/4-6/5               2                    -          ($165,301.77)                              -          ($207,358.23)
           6/7- 6/12              4                    -         {$123,460.90)                             -
                -                 -           6/7- 6/8
                                                                                                                       ($107,626.49)
                -                 -                                 ($123,460.90)           {$46,487.59)                        -
                                             6/8- 6/11                {$46,487.59)        {$207,970.00)                         -
                -                 -         6/11- 6/12              ($207,970.00)         ($107,626.49)                         -

          6/14-6/19               4                -             ($259,266.52)                           -
                -                 -        6/14- 6/15
                                                                                                                       {$547,177.76}
                -                 -
                                                                    ($259,266.52)         ($832,969.67)                         -
                                           6/15- 6/18               {$832,969.67)       ($1,272,587.24)                         -
                -                 -        6/18- 6/19             {$1,272,587.24)         ($547,177.76)                         -
          6/21- 6/30              8                -             ($576,990.90)                           -
                -                 -        6/21- 6/22
                                                                                                                       ($132,849.63)
  -                       -
                                                                     {$576,990.90)         {$776,475.43)                     -
                                           6/22- 6/25                ($776,475.43]      ($ 1,575,675.87)                    -
  -                       -                6/25- 6/26             ($1,575,675.87)                                           -
  -                       -                                                                {$480,300.68)
                                           6/26- 6/27               ($480,300.68)                                           -
  -                       -                                                             ($1,241,155.15)
                                           6/27- 6/28             ($1,241,155.15)       ($1,139,453.88)                     -
  -                       -                6/28- 6/29             ($1,139,453.88)         ($132,533.88)                     -
  -                       -                6/29- 6/30               ($132,533.88)         ($132,849.63)                     -


                                           ROT Vista Overdraft Loans- July 2018

                         Agg. No. OD       2 Day OD
      Agg. Date Range       Days            Range               Beginning OD          2 Day OD Bal                    Ending OD Bal
         7/6- 7/10            3                -                ($102,703.57)              -
            -                 -             7/6-7/9
                                                                                                                      ($880,672.00)
            -
                                                                   ($102,703.57)         {$795,964.85)                      -
                              -            7/9- 7/10               ($795,964.85)         ($880,672.00)                      -
       7/23-7/24              2                -               ($1,151,359.44)             -                         ($1,154,149.42)
       7/30-7/31              2               -                ($104,074.31)               -                         ($141,788.31)




                                                                                                                           C3- 4 of 4
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                                  EXHIBIT "D"
            September 2016 Email Exchange Between Toby Cecil and Bart Reagor
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     To:       s.srnith@reagordykes.com[ssmlth@reagordykes.comJ; jhoel@reagordykes.com[ihoel@reagorctykes.com];
     rblacklock@reagordyl<es,corn{l'blackloc.k@reagordyl<es.com]; dyke�rick@yahoo.o.orn[dy!<esrick@yanQ.o.comJ;
      lc>fal)_sler@re�gordyk$s.com[bfan;;ler@r��gotdykes.comJ
      Cc:          tcecil@vistabank.com[tcecil@vi:stabank.cqmJ; jsteinfTielz@visiaba.rik.cotnUst¢i1.1metz@vistaban,lccom]
    , From:        BReagor@aol.cqm[BReagor@aol.com]
      S�nt         Thur 9/22/201610A6:58 AM (VTC�OS:00)·
      Subject: Fwd:. Overdrawn acc.ot.mts
      20j609220�0·p25�4..pdf

     Shane-Brad-Jarrod�

     I just read the email below from Toby and I don't ever want to ge.t an emai.l lik.e that again.
     We have always ha� a great i'elationship with Vista Bank and we -always want to have· a great
     relatiohship with Vista Bank. I don't ever want Vista Bani< to worry about the- RDAG. We are stock
     hold_ers in Vista Bank and we believe in Vista Bank! They are friends and allies of the RDAG.

     My und.erstanding is that we had an a·udit Which required s.ev$ral payoffs -yesterday and our
     accounts got overdrawn,

     Let*s not ever let that happen again! Let's stay on top of this. daily and make sure that we ._are ·
     proactive to stay ahead of any potential red flags.

    I don't want -any red fl�g� ever! I l !-! ! !! ! We arE) doing too good to ever have. any red flags! Toby
    please-call me personaily if there is ev<ar any concern immedi•c::1tely!!!!!l!!!

     I talked to Shane and he told me that he went to Mitsubishf this morning and got everything
, __ straightened out related to our accounts!
 1
    I called Toby cilnd he told me he, sent the email to make sure I wa� in the loop. Going forward we
    agreed to make sure that we don 1t .ever let thi$ $ituation develop again.

    Shane., Brad, J'arrod- Let's get -some controls in place tMat prevent this situation from ever
    developing again., We never want Vista Bank having any question about the RDAG.

    Thanks you Toby and John for all you have .done as partners to help me, Rick and the .RqAG grow
    if.s bus.iness!

    Toby-J.ohn- .If I need to do anything else please call me asap!

    Thanks,

    l:lart W. Reagor
    Fou(lderand CEO
    fleago,Dyk!c!s Auto. Group
    0: 806c'l76-87QO
     breagcir@rea�ordykes.c;orn




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    '!!Striv.e ·not.to be {I success, but ra·mei'to btl ofvalue, -Albert Ei11steln"




  CONFIDENTIAL                                                                                                                                                                           SMTZ-VISTA-RD0000081
                          Case 18-05005-rlj Doc 31-2 Filed 01/29/20                                                                                                   Entered 01/29/20 13:21:24   Page 77 of 85

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        From: tc�c;il@vi:staba11lt.com
        to; bref}gdr@aol,@til
        Sent: 9122.12016 .9:.23:07 A.M; Central Daylight Time
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        1/i.mil,s

                                                                          Toby Cecil
                                                                         President
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 CONFIDENTIAL                                                                                                                                                                                     SMT,4'.-VISTA-RD0000082
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                                 EXHIBIT "E"
                                 Post-Petition Deposits
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                                       ExhibitE

                                Post Petition Transfers
                            Unauthorized Post-Petition Deposits
    Date       Amount                 Account                                  Transfer4
  8/6/2018     $927.72        RDAC Checking xxx3387                       Miscellaneous Credit
                                                                       Rvse Payment on BL #73443

 9/28/2018      $2.33          RDAC Savings xxx2723                          Interest Credit
                                                                            Interest Payment

  8/6/2018     $359.83         RDAC Savings xxx2723                       Miscellaneous Credit
                                                                       Rvse Payment on BL #73443

 8/29/2018     $5,748.74       RDT Checking xxx2788                       Miscellaneous Credit
                                                                      AC-Reserve Disburs-DLR Trans

 8/20/2018     $231.90         RDT Checking xxx2788                       Miscellaneous Credit
                                                                      AC-Zurich American-Payments

 8/20/2018     $168.01         RDT Checking xxx2788                       Miscellaneous Credit
                                                                      AC-Zurich American-Payments

 8/17/2018     $352.98         RDT Checking xxx2788                       Miscellaneous Credit
                                                                      AC-Zurich American-Payments

 8/16/2018     $345.28         RDT Checking xxx2788                      Miscellaneous Credit
                                                                       AC-TSYS-Transfirst-BKCD
                                                                       STLMT543684555779 l 98
                                                                           Reagor Dykes T
                                                                  '
 8/14/2018     $704.61         RDT Checking xxx2788                       Miscellaneous Credit
                                                                      AC-Zurich American-Payments

 8/14/2018     $655.68         RDT Checking xxx2788                       Miscellaneous Credit
                                                                       AC-TSYS-Transfirst-BKCD
                                                                        STLMT543684555779198
                                                                           Reagor Dykes T




                                                                                               EXHIBIT E
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 8/14/2018      $301.57        ROT Checking xxx2788           Miscellaneous Credit
                                                            AC-TSYS-Transfirst-BKCD
                                                            STLMT543684555779 l 98
                                                                Reagor Dykes T

 8/14/2018      $135.91        RDT Checking xxx2788            Miscellaneous Credit
                                                            AC-TSYS-Transfirst-BKCD
                                                             STLMT543684555779198
                                                                Reagor Dykes T

 8/13/2018     $1,362.00       RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

 8/13/2018      $182.25        RDT Checking xxx2788           Miscellaneous Credit
                                                            AC-TSYS-Transfirst-BKCD
                                                            STLMT543684555779198
                                                                Reagor Dykes T

 8/10/2018      $297.97        ROT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

 8/10/2018      $171.50        RDT Checking xxx2788           Miscellaneous Credit
                                                            AC-TSYS-Transfirst-BKCD
                                                            STLMT543684555779198
                                                                Reagor Dykes T

  8/9/2018      $35 l .97      RDT Checking xxx2788            Miscellaneous Credit
                                                            AC-TSYS-Transfirst-BKCD
                                                             STLMT543684555779198
                                                                 Reagor Dykes T

  8/9/2018     $351.97         RDT Checking xxx2788            Miscellaneous Credit
                                                            AC-TSYS-Transfirst-BKCD
                                                             STLMT543684555779198
                                                                  Reagor Dykes T
                                                           (Reference Number 20004674)

  8/8/2018    $48,134.69       RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Loan Funding - DLR Trans

  8/8/2018     $894.81         RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

  8/7/2018    $21,492.26       RDT Checking xxx2788            Miscellaneous Credit
                                                          AC-Santander Consum-Direct Pay
                                                                 **102329835**
                                                              JTMZFREVXJJ19192

  8/7/2018     $1,665.21       RDT Checking xxx2788           MisceUaneous Credit
                                                            AC-TSYS-Transfirst-BKCD
                                                            STLMT543684555779 l 98
                                                                Reagor Dykes T




                                                                                EXHJBIT E
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  8/6/2018    $33,690.89       RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Loan Funding - DLR Trans

  8/6/2018     $3,142.49       RDT Checking xxx2788           Miscellaneous Credit
                                                            AC-TSYS-Transfirst-BKCD
                                                            STLMT543684555779198
                                                                Reagor Dykes T

  8/3/2018    $92,252.97       RDT Checking xxx2788             Miscellaneous Credit
                                                          AC-U .S. Bank N.A. - Lease ACH

  8/3/2018    $26,683.62       ROT Checking xxx2788           Miscellaneous Credit
                                                         AC-TD Auto Finance - CCC Entry

  8/3/2018    $26,499.83       ROT Checking xxx2788           Miscellaneous Credit
                                                           AC-CAF - Houston - Dealers

  8/3/2018    $20,402.00       RDT Checking xxx2788           Miscel1aneous Credit
                                                         AC-AmeriCredit Fina - Loan Fundi

  8/3/2018    $12,627.65       ROT Checking xxx2788            Miscellaneous Credit
                                                          AC-Santander Consum-Direct Pay
                                                                 **102047297**
                                                              5YFBURHE4EP02643

  8/3/2018     $6,111.12       RDT Checking xxx2788           Miscellaneous Credit
                                                         AC-SunTrust LN 656 - DLR DISB

  8/3/2018     $2,991.60       RDT Checking xxx2788            Miscellaneous Credit
                                                              AC-Chase - Dealer RSV

  8/3/2018     $545.00         RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

  8/3/2018     $451.00         ROT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

  8/3/2018     $223.00         ROT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

  8/3/2018      $84.01         RDT Checking xxx2788            Miscellaneous Credit
                                                            AC-TSYS-Transfirst-BKCD
                                                             STLMT543684555779198
                                                                Reagor Dykes T

  8/2/2018    $59,000.00       RDT Checking xxx2788            Miscellaneous Credit
                                                                  Credit Memo

  8/2/2018    $51,936.84       RDT Checking xxx2788           Miscellaneous Credit
                                                            AC-MUSA Auto Finance -
                                                              ORGNTN600-101758




                                                                                 EXHIBIT E
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  8/2/2018     $30,106.44      RDT Checking xxx2788            Miscellaneous Credit
                                                             AC-MUSA Auto Finance -
                                                              ORGNTN600- l 01723

  8/2/2018     $19,627.86      RDT Checking xxx2788            Miscellaneous Credit
                                                          AC-Santander Consum-Direct Pay
                                                                 **102282473**
                                                               JTEBU5JR5F525133

  8/2/2018     $19,250.00      RDT Checking xxx2788            Miscellaneous Credit
                                                             AC-Toyota-CMMRMR *I
                                                             V*VIN#2T3RFREV0JW8

  8/2/2018     $16,545.75      RDT Checking xxx2788            Miscellaneous Credit
                                                              AC-AmeriCredit Fina -
                                                                   Loan Fundi

  8/2/2018     $15,205.48      RDT Checking xxx2788           Miscellaneous Credit
                                                             AC-Foursight - Elec - CR

  8/2/2018     $6,739.24       RDT Checking xxx2788            Miscellaneous Credit
                                                              AC-Lubbock National -
                                                            Payment NTE*July Reserve
                                                                  Disbursement

  8/2/2018      $513.28        RDT Checking xxx2788           Miscellaneous Credit
                                                            AC-TSYS-Transfrrst-BKCD
                                                            STLMT543684555779198
                                                                Reagor Dykes T

  8/2/2018      $255.18        RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

  8/2/2018      $155.00        RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

  8/1/2018     $77,698.00      RDT Checking xxx2788                Returned Item
                                                                  Returned Check
                                                                 (Reference 36708)

  8/1/2018     $59,001.00      RDT Checking xxx2788                Returned Item
                                                                  Returned Check
                                                                 (Reference 36739)

  8/1/20 I 8   $15,997.29      RDT Checking xxx2788                Returned Item
                                                                  Returned Check
                                                                 (Reference 36727)

  8/6/2018     $60,772.78     LMITSU Checking xxx3409          Miscellaneous Credit
                                                              Rvse Pymt to BL #73443

  9/10/2018     $523.16        RDAC Checking xxx6693           Miscellaneous Credit
                                                           AC-Citi Private LBL - Payment




                                                                                     EXHIBIT E
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 8/29/2018     $4,159.47       RDAC Checking xxx6693          Miscellaneous Credit
                                                         AC-Reserve Disburse - DLR Trans

 8/23/2018    $30,164.33       ROT Checking xxx2788            Miscellaneous Credit
                                                          AC-Santander Consum-Direct Pay
                                                                 **101017294**
                                                              1FMCU0F76JUC0660

 8/23/2018    $17,758.54       ROT Checking xxx2788            Miscellaneous Credit
                                                          AC-Santander Consum-Direct Pay
                                                                  **100127738**
                                                               I FADP3F22JL32182

 8/23/2018    $16,552.15       ROT Checking xxx2788            Miscellaneous Credit
                                                          AC-Santander Consum-Direct Pay
                                                                 **102245661**
                                                               IFA6P8AM4F533781

 8/22/2018     $1,766.07       RDT Checking xxx2788            Miscellaneous Credit
                                                                AC-Lynx Services
                                                            EDI PYMNTSISA*00* *00*

 8/20/2018     $2,136.24       ROT Checking xxx2788            Miscellaneous Credit
                                                                AC-Lynx Services
                                                            EDI PYMNTSlSA *00* *00*

 8/20/2018     $310.57         ROT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

 8/20/2018     $301.69         ROT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

 8/20/2018     $128.21         ROT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

 8/15/2018     $309.13         RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

 8/14/2018     $812.88         RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

 8/14/2018     $287.17         RDT Checking xxx2788           Miscellaneous Credit
                                                                 AC-SF Mutual
                                                             A08SF000 I NTE*ZZZ*
                                                            108364240KA0808137053

 8/10/2018      $93.62         ROT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

  8/9/2018     $155.08         RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Zurich American-Payments

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  8/9/2018      $150.99        RDT Checking xxx2788           Miscellaneous Credit
                                                           AC-TSYS-TransFirst - BKCD
                                                            STLMT543684555779200
                                                                Reagor Dykes T

  8/8/2018    $28,755.00       RDT Checking xxx2788            Miscellaneous Credit
                                                           AC-Loan Funding - DLR Trans

  8/7/2018    $27,352.80       RDT Checking xxx2788            Miscellaneous Credit
                                                          AC-Santander Consum-Direct Pay
                                                                 **102412012**
                                                              2FMPK3G93JBC23 I 2

  8/7/2018     $6,205.89       RDT Checking xxx2788           Miscellaneous Credit
                                                           AC-TSYS-TransFirst - BKCD
                                                            STLMT543684555779200
                                                                Reagor Dykes F

  8/7/2018     $823.96        RDAC Checking xxx6693            Miscellaneous Credit
                                                           AC-Citi Private LBL - Payment

  8/7/2018     $365.22        RDAC Checking xxx6693           Miscellaneous Credit
                                                            AC-Flagship ACC - Credits

  8/6/2018    $43,911.84      RDAC Checking xxx6693            Miscellaneous Credit
                                                         AC-Ford Motor Co - USNASA CRT

  8/6/2018     $3,968.77       RDT Checking xxx2788           Miscellaneous Credit
                                                           AC-TSYS-TransFirst - BKCD
                                                            STLMT543684555779200
                                                                Reagor Dykes F

  8/3/2018    $50,203.26      RDAC Checking xxx6693           Miscellaneous Credit
                                                         AC-TD Auto Finance - CCC Entry

  8/3/2018    $32,000.00      RDAC Checking xxx6693            Miscellaneous Credit
                                                           AC-USAA Auto Loan Payment
                                                            VIN 5LMJJ2JT0HEL00425

 8/3/2018     $5,078.60       RDAC Checking xxx6693           Miscellaneous Credit
                                                         AC-SunTrust LN 656 - DLR DISB

  8/3/2018    $4,763.52       RDAC Checking xxx6693            Miscellaneous Credit
                                                              AC-Chase - Dealer RSV

 8/3/2018     $1,448.39       RDAC Checking xxx6693           Miscellaneous Credit
                                                           AC-TSYS-TransFirst - BKCD
                                                            STLMT543684555779200
                                                                Reagor Dykes F

 8/3/2018     $1,298.42       RDAC Checking xxx6693            Miscellaneous Credit
                                                             AC-BB&T - BBT RESRV




                                                                                 EXl·IIBIT E



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   8/3/2018      $629.99       RDAC Checking xxx.6693           Miscellaneous Credit
                                                          AC-FORD CREDIT - DEFTCREDIT

   8/2/2018    $67,345.99      RDAC Checking xxx6693            Miscellaneous Credit
                                                             AC-U.S. Bank- Dealer FND

   8/2/2018    $36,918.84      RDAC Checking xxx6693            Miscellaneous Credit
                                                           AC-TD Auto Finance - CCC Entry

   8/2/2018    $24,343.97      RDAC Checking xxx6693            Miscellaneous Credit
                                                            AC-Loan Funding - DLR Trans

   8/2/2018    $11,000.28      RDAC Checking xxx6693            Miscellaneous Credit
                                                                   Credit Memo

   8/2/2018     $2,426.49      RDAC Checking xxx6693            Miscellaneous Credit
                                                             AC-TSYS-TransFirst - BKCD
                                                              STLMT543684555779200
                                                                  Reagor Dykes F

   8/2/2018      $293.55        RDT Checking xxx:2788           Miscellaneous Credit
                                                            AC-Zurich American-Payments

   8/2/2018      $247.97        RDT Checking xxx2788            Miscellaneous Credit
                                                            AC-Zurich American-Payments

  8/1/2018     $67,769.00       RDT Checking xxx2788             RETURNED ITEM
                                                                RETURNED CHECK
                                                                  (Reference 70614)

  8/1/2018     $59,930.00       RDT Checking xxx2788             RETURNED ITEM
                                                                RETURNED CHECK
                                                                 (Reference 70667)

  9/28/2018       $0.64         ROT Savings xxx6842                Interest Credit
                                                                  Interest Payment

  8/6/2018      $5,364.49       RDT Savings xxx6842             Miscellaneous Credit
                                                              Rvse Pymt on BL #73443

  9/28/2018       $2.27        LMJTSU Savings xxx9343              Interest Credit
                                                                  Interest Payment

  8/6/2018     $19,027.36      LMlTSU Savings xxx.9343         Miscellaneous Credit
                                                              Rvse Pymt on BL #73443

  TOTAL       $1,320,434.32
